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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                  Chapter 11

BOY SCOUTS OF AMERICA AND                               Case No. 20-10343 (___)
DELAWARE BSA, LLC,1
                                                        (Joint Administration Requested)
Debtors.


THIS IS NOT A SOLICITATION OF ACCEPTANCE OR REJECTION OF THE PLAN.
ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL A DISCLOSURE
STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY COURT. THE
INFORMATION IN THIS DISCLOSURE STATEMENT IS SUBJECT TO CHANGE.


                     DISCLOSURE STATEMENT FOR THE CHAPTER 11
                     PLAN OF REORGANIZATION FOR BOY SCOUTS OF
                          AMERICA AND DELAWARE BSA, LLC
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Proposed Counsel for the Debtors and Debtors in Possession

Dated: February 18, 2020
        Wilmington, Delaware



1
 The Debtors in these Chapter 11 Cases, together with the last four digits of each Debtors’ federal tax identification
number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 W. Walnut Hill Ln., Irving, TX 75038.
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       IMPORTANT INFORMATION ABOUT THIS DISCLOSURE STATEMENT

    THE DEADLINE TO VOTE ON THE PLAN IS [___], 2020 AT [__]:00 [_].M.
PREVAILING EASTERN TIME (THE “VOTING DEADLINE”).

     FOR YOUR VOTE TO BE COUNTED, YOUR BALLOT MUST BE ACTUALLY
RECEIVED BY THE CLAIMS AND NOTICING AGENT BEFORE THE VOTING
DEADLINE AS DESCRIBED HEREIN.

     THE DATE BY WHICH OBJECTIONS TO CONFIRMATION MUST BE FILED
AND SERVED IS [_____], 2020 AT [___]:00 [_].M. PREVAILING EASTERN TIME.

        THE HEARING ON CONFIRMATION OF THE PLAN IS SCHEDULED AT
[___], 2020 AT [__]:00 [_].M. PREVAILING EASTERN TIME.

        This Disclosure Statement contains, among other things, summaries of the Chapter 11
Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC (as such may be
amended, altered, modified or supplemented from time to time, the “Plan”), dated February 18,
2020,2 certain statutory provisions, and certain anticipated events in the Chapter 11 Cases.
Although the Debtors believe that these summaries are fair and accurate, these summaries are
qualified in their entirety to the extent that they do not set forth the entire text of such documents
or statutory provisions or every detail of such anticipated events. In the event of any
inconsistency or discrepancy between a description in this Disclosure Statement and the terms
and provisions of the Plan or any other documents incorporated herein by reference, the Plan or
such other documents will govern for all purposes. Factual information contained in this
Disclosure Statement has been provided by the Debtors’ management except where otherwise
specifically noted.

        The statements contained in this Disclosure Statement are made only as of the date of this
Disclosure Statement, and there can be no assurance that the statements contained herein will be
correct at any time after this date. Although the Debtors may subsequently update the
information in this Disclosure Statement, the Debtors have no affirmative duty to do so, except
as otherwise provided in the Plan or in accordance with applicable law. The information
contained in this Disclosure Statement, including the information regarding the history,
charitable non-profit operations of the Debtors and their non-debtor affiliates and certain related
entities, and the financial information regarding the Debtors, is included for purposes of
disclosing information related to the Plan, but, as to contested matters, adversary proceedings,
and any other litigation or disputes, is not to be construed as an admission or stipulation, but
rather as a statement made in settlement negotiations as part of the Debtors’ attempt to settle and
resolve claims and controversies pursuant to the Plan. This Disclosure Statement will not be
admissible in any non-bankruptcy proceeding, nor will it be construed to be conclusive advice on
the tax, securities, or other legal effects of the Plan as to holders of Claims against, or Interests
in, either the Debtors or the Reorganized Debtors. The Debtors do not represent or warrant that
the information contained herein or attached hereto is without any material inaccuracy or
omission. Except where specifically noted, the financial information contained in this Disclosure
2
 Except as otherwise set forth herein, capitalized terms used in this Disclosure Statement but not defined herein
have the meanings ascribed to them in the Plan.


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Statement and the exhibits hereto have not been audited by a certified public accountant and
have not been prepared in accordance with generally accepted accounting principles in the
United States.

        The Debtors have not authorized any person or Entity in connection with this Disclosure
Statement or the Plan to give any information or make any representation or statement regarding
this Disclosure Statement or the Plan, in each case, other than that which is contained in this
Disclosure Statement and the exhibits hereto or as otherwise incorporated by reference or
referred to herein. If any such information, representation or statement is given or made, it may
not be relied upon as having been authorized by the Debtors.

        The Debtors’ management, in consultation with the Debtors’ financial advisors, prepared
the financial projections provided in this Disclosure Statement. While the Debtors have
presented these projections with numerical specificity, they have necessarily based the
projections on a variety of estimates and assumptions that, although considered reasonable by
management at the time of preparation, may not be realized, and are inherently subject to
significant operational, economic, and financial uncertainties and contingencies, many of which
will be beyond the Debtors’ or the Reorganized Debtors’ control. The Debtors caution that they
cannot make any representations as to the accuracy of these projections or to the Debtors’ or
Reorganized Debtors’ ability to achieve the projected results. Some assumptions inevitably will
not materialize. Further, events and circumstances occurring subsequent to the date on which
these projections were prepared may differ from any assumed facts and circumstances.
Alternatively, any events and circumstances that come to pass may well have been unanticipated,
and thus may affect financial results in a materially adverse or materially beneficial manner. The
projections, therefore, may not be relied upon as a guaranty or other assurance of the actual
results that will occur.

        Certain of the information contained in this Disclosure Statement is by its nature forward
looking and contains estimates, assumptions and projections that may be materially different
from actual future results. The words “believe,” “may,” “will,” “estimate,” “continue,”
“anticipate,” “intend,” “expect” and similar expressions identify these forward-looking
statements. These forward-looking statements are subject to a number of risks, uncertainties and
assumptions, including those described in Article VIII of this Disclosure Statement, “Risk
Factors.” In light of these risks and uncertainties, the forward-looking events and circumstances
discussed in this Disclosure Statement may not occur, and actual results could differ materially
from those anticipated in the forward-looking statements. Except as required by law, the Debtors
disclaim any obligation to update or revise any forward-looking statements, whether as a result
of new information, future events or otherwise.




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EXHIBIT A     Plan of Reorganization

EXHIBIT B Liquidation Analysis (to be attached to a subsequent amendment to this
Disclosure Statement)

EXHIBIT C Financial Projections Analysis (to be attached to a subsequent amendment to this
Disclosure Statement)
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                                ARTICLE I. INTRODUCTION

                A. GENERAL BACKGROUND

         Boy Scouts of America and Delaware BSA, LLC (the “Debtors”), submit this
Disclosure Statement pursuant to section 1125 of Title 11 of the United States Code (the
“Bankruptcy Code”) in connection with the solicitation of acceptances of the Plan. A copy of the
Plan is attached hereto as Exhibit A. The rules of interpretation set forth in Article I of the Plan
shall govern the interpretation of this Disclosure Statement. Please note that to the extent any
inconsistencies exist between this Disclosure Statement and the Plan, the Plan governs.

        The Plan provides for the reorganization of the Debtors under chapter 11 of the
Bankruptcy Code. If the Plan is confirmed and consummated, the Debtors, as Reorganized
Debtors, will emerge from bankruptcy able to continue the BSA’s mission, and holders of Abuse
Claims will have a streamlined and certain process by which they may obtain compensation for
Abuse.

         Under the Plan, (1) Abuse Claims shall be channeled to the Victims Compensation
Trust pursuant to the Channeling Injunction and may be asserted only and exclusively against the
Victims Compensation Trust, (2) the holders of all 2010 Credit Facility Claims, 2019 RCF
Claims, 2010 Bond Claims, and 2012 Bond Claims will have their claims restructured under
restated documentation, and (3) holders of General Unsecured Claims will receive Pro Rata
shares of the GUC Plan Distribution.

        The Plan also provides for the payment in full in Cash of Claims entitled to
administrative expense or priority status under the Bankruptcy Code.

        In addition, the Plan includes certain release, injunctive, and exculpatory
provisions described in greater detail below.

          The Debtors are proposing the Plan following extensive arm’s length, good faith
discussions with certain of their key stakeholders, as described in more detail below. The
Debtors believe the Plan represents the best available option for all creditors and parties in
interest. For all of the reasons described in this Disclosure Statement, the Debtors urge you to
return your ballot accepting the Plan by the Voting Deadline (i.e., the date by which your ballot
must actually be received), which is [_________], 2020, at [__]:00 [_].m. (prevailing Eastern
Time).

          This Disclosure Statement sets forth certain information regarding the prepetition
operating and financial history of the Debtors, the events leading up to the commencement of the
Chapter 11 Cases, material events that have occurred during the Chapter 11 Cases, and the
anticipated organization, operations, and capital structure of the Reorganized Debtors if the Plan
is confirmed and becomes effective. This Disclosure Statement also describes terms and
provisions of the Plan, including certain effects of confirmation of the Plan, certain risk factors,
the manner in which distributions will be made under the Plan, and certain alternatives to the
Plan.




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         On [__________], 2020, the Bankruptcy Court entered an order approving this
Disclosure Statement as containing “adequate information,” i.e., information of a kind and in
sufficient detail to enable a hypothetical reasonable investor typical of the holders of Claims or
Interests to make an informed judgment about the Plan. THE BANKRUPTCY COURT’S
APPROVAL OF THIS DISCLOSURE STATEMENT CONSTITUTES NEITHER A
GUARANTY OF THE ACCURACY OR COMPLETENESS OF THE INFORMATION
CONTAINED HEREIN NOR AN ENDORSEMENT BY THE BANKRUPTCY COURT
OF THE MERITS OF THE PLAN.

      EACH HOLDER OF A CLAIM ENTITLED TO VOTE ON THE PLAN
SHOULD REVIEW THIS DISCLOSURE STATEMENT AND THE PLAN AND ALL
EXHIBITS HERETO AND THERETO BEFORE CASTING A BALLOT. THIS
DISCLOSURE STATEMENT CONTAINS A SUMMARY OF CERTAIN PROVISIONS
OF THE PLAN AND CERTAIN OTHER DOCUMENTS AND FINANCIAL
INFORMATION. THE DEBTORS BELIEVE THAT THESE SUMMARIES ARE FAIR
AND ACCURATE AS OF THE DATE HEREOF AND PROVIDE ADEQUATE
INFORMATION WITH RESPECT TO THE DOCUMENTS SUMMARIZED;
HOWEVER, SUCH SUMMARIES ARE QUALIFIED TO THE EXTENT THAT THEY
DO NOT SET FORTH THE ENTIRE TEXT OF THOSE DOCUMENTS AND AS
OTHERWISE PROVIDED HEREIN.

                B. GENERAL OVERVIEW OF THE PLAN

         The Plan provides for the reorganization of the Debtors as a going concern and will
enable them to continue the BSA’s mission. Specifically, the Plan contemplates (i) the
establishment of a Victims Compensation Trust for the benefit of holders of Abuse Claims that
shall assume liability for all Abuse Claims and hold, administer, and distribute Trust Assets for
the benefit of holders of Abuse Claims, and the channeling of all Abuse Claims to such trust, (ii)
making distributions to holders of General Unsecured Claims, (iii) restructuring certain of the
Debtors’ prepetition Secured Claims, and (iv) entering into the Exit Facility.

         The following chart summarizes the projected distributions to holders of Allowed
Claims against and Interests in each of the Debtors under the Plan. Although every reasonable
effort was made to be accurate, the projections of estimated recoveries are only an estimate. Any
estimates of Claims or Interests in this Disclosure Statement may vary from the final amounts
allowed by the Bankruptcy Court. As a result of the foregoing and other uncertainties which are
inherent in the estimates, the estimated recoveries in this Disclosure Statement may vary from
the actual recoveries received. In addition, the ability to receive distributions under the Plan
depends upon the ability of the Debtors to obtain confirmation of the Plan and meet the
conditions to confirmation and effectiveness of the Plan, as discussed in this Disclosure
Statement. The recoveries set forth below are projected recoveries only and may change based
upon changes in the amount of Allowed Claims as well as other factors related to the Debtors’
business operations and general economic conditions. Reference should be made to the entire
Disclosure Statement and the Plan for a complete description of the classification and treatment
of Allowed Claims against and Interests in each of the Debtors.




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        Class       Claim or Interest          Estimated Allowed              Treatment             Plan Recovery
                                                     Amount3
    N/A           Administrative Expense       $[__]                    Paid in full / Unimpaired 100%
                  Claims
    N/A           Professional Fee Claims      $[__]                    Paid in full / Unimpaired   100%
    N/A           Priority Tax Claims          $[__]                    Paid in full / Unimpaired   100%
    1             Other Priority Claims        $[__]                    Paid in full /              100%
                                                                        Reinstated / Unimpaired
    2             Other Secured Claims         $[__]                    Paid in full / Collateral   100%
                                                                        Returned / Reinstated /
                                                                        Unimpaired
    3A            2010 Credit Facility         $[__]                    Reinstated with             100%
                  Claims                                                modifications /
                                                                        Impaired
    3B            2019 RCF Claims              $[__]                    Reinstated with             100%
                                                                        modifications /
                                                                        Impaired
    4A            2010 Bond Claims             $[__]                    Reinstated with             100%
                                                                        modifications /
                                                                        Impaired
    4B            2012 Bond Claims             $[__]                    Reinstated with             100%
                                                                        modifications /
                                                                        Impaired
    5             General Unsecured            $[__]                    Pro Rata share of GUC       [___]%
                  Claims                                                Plan Distribution /
                                                                        Impaired
    6             Abuse Claims                 $[__]                    Channeled to Victims        [___]%
                                                                        Compensation Trust /
                                                                        Impaired
    7             Interests in Delaware        N/A                      Reinstated /                100%
                  BSA, LLC                                              Unimpaired




            The key terms of the Plan are as set forth below.

                  1. The Victims Compensation Trust

       On the Effective Date of the Plan, the Debtors shall establish a trust for the benefit
holders of Abuse Claims. The Victims Compensation Trust shall assume liability for all Abuse
Claims and hold, administer and distribute Trust Assets for the benefit of holders of Abuse
Claims.




3
 Figures with respect to the Allowed amounts of the Claims set forth in this chart are based upon the Debtors’ best
estimates of such Claims as of the date of this Disclosure Statement.


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               2. Channeling of Abuse Claims to the Victims Compensation Trust

        From and after the Effective Date, all Abuse Claims shall be subject to the Channeling
Injunction, and the Protected Parties shall not have any obligation with respect to any liability of
any nature or description arising out of, relating to, or in connection with any Abuse Claims.

               3. Treatment of General Unsecured Claims

       Holders of prepetition trade debt and other General Unsecured Claims, which do not
include Abuse Claims, will receive Pro Rata shares of the GUC Plan Distribution, which will be
funded by Cash on hand and the proceeds of the Exit Facility.

               4. Treatment of the Claims under the Debtors’ Secured Facilities

       The 2010 Credit Facility Claims, 2019 RCF Claims, 2010 Bond Claims, and 2012 Bond
Claims will be allowed and deemed fully Secured. On the Effective Date of the Plan, all such
Claims will be restructured under restated documentation.

               5. Exit Facility

        On the Effective Date of the Plan, the Debtors anticipate securing access to a credit
facility or credit facilities, which will provide additional liquidity to supplement the Debtors’
capability to continue carrying out the BSA’s charitable mission after emergence from
bankruptcy.

               6. General Settlement of Claims and Interests

        As described more fully in Section V.B of the Plan, pursuant to section 1123 of the
Bankruptcy Code and Bankruptcy Rule 9019 and in consideration for the classification,
distributions, releases, and other benefits provided under the Plan, upon the Effective Date, the
provisions of the Plan shall constitute a good faith compromise and settlement of Claims,
Interests, and controversies relating to the contractual, legal, and subordination rights that
holders of Claims or Interests might have with respect to any Claim or Interest under the Plan.
Distributions made to holders of Claims in any Class are intended to be final.

               7. Releases

        The Plan contains certain releases (as described more fully in Section V.P.5 hereof),
including releases by the Debtors, Reorganized Debtors, and the Estates of the Released Parties
(each solely in their capacity as such). The Plan also provides that each Holder of an Abuse
Claim will be deemed to have expressly, conclusively, absolutely, unconditionally, irrevocably,
and forever discharged and released from all Abuse Claims and any and all Claims and Causes
of Action against the Debtors and the other Protected Parties. Under the Plan, the Released
Parties means the parties listed in Section I.A.113 of the Plan, and the Protected Parties means
the parties listed in Section I.A.107 of the Plan.




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                C. OVERVIEW OF CHAPTER 11

         Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code.
Under chapter 11, a debtor is authorized to reorganize its business for the benefit of itself, its
creditors, and its equity security holders. In addition to permitting the rehabilitation of a debtor,
another goal of chapter 11 is to promote the equality of treatment of similarly situated creditors
and equity interest holders with respect to the distribution of a debtor’s assets.

         The commencement of a chapter 11 case creates an estate that is comprised of all of the
legal and equitable interests of the debtor as of the commencement date. The Bankruptcy Code
provides that the debtor may continue to operate its business and remain in possession of its
property as a “debtor-in-possession.”

         The consummation of a plan of reorganization is the principal objective of a chapter 11
reorganization case. A plan of reorganization sets forth the means for satisfying claims against
and equity interests in the debtor. Confirmation of a plan of reorganization by the bankruptcy
court makes the plan binding upon the debtor, any issuer of securities under the plan, any person
acquiring property under the plan and any creditor or equity interest holder of a debtor. Subject
to certain limited exceptions, the order approving confirmation of a plan discharges a debtor
from any debt that arose prior to the date of confirmation of the plan and substitutes therefor the
obligations specified under the confirmed plan.

                D. VOTING ON THE PLAN

         The Disclosure Statement Order approved certain procedures governing the solicitation
of votes on the Plan from holders of Claims against the Debtors, including setting the deadline
for voting, specifying which holders of Claims are eligible to receive Ballots to vote on the Plan,
and establishing other voting procedures.

      THE DISCLOSURE STATEMENT ORDER IS HEREBY INCORPORATED BY
REFERENCE AS THOUGH FULLY SET FORTH HEREIN. YOU SHOULD READ THE
DISCLOSURE STATEMENT ORDER, THE CONFIRMATION HEARING NOTICE,
AND THE INSTRUCTIONS ATTACHED TO YOUR BALLOT IN CONNECTION
WITH THIS SECTION, AS THEY SET FORTH IN DETAIL PROCEDURES
GOVERNING VOTING DEADLINES AND OBJECTION DEADLINES.

         The Plan, though proposed jointly and consolidated for purposes of making distributions
to holders of Claims under the Plan, constitutes a separate Plan proposed by each Debtor.
Therefore, the classifications set forth in the Plan apply separately with respect to each Plan
proposed by, and the Claims against and Interests in, each Debtor. Your vote will count as votes
for or against, as applicable, each Plan proposed by each Debtor.

         This summary does not contain all of the information that is important to you and is
qualified in its entirety by the more detailed information concerning solicitation of votes on the
Plan included in Section I.E of this Disclosure Statement and in the accompanying Plan.




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The Voting           The Debtors are soliciting votes to accept or reject the Plan from the holders
Classes              of Claims in Classes 3A, 3B, 4A, 4B, 5, and 6.
Voting Record        Only holders in the Voting Classes as of [____], 2020 will be entitled to
Date:                vote on the Plan. The Debtors reserve the right to set a later Voting Record
                     Date if the Debtors decide to extend the Voting Deadline.
Voting Deadline;     The Voting Deadline is [_]:00 [_].m., prevailing eastern time, on [___],
Extension:           2020, unless the Debtors in their sole discretion extend the date by which
                     Ballots will be accepted. If the Voting Deadline is extended, the term
                     “Voting Deadline” will mean the time and date that is designated. Any
                     extension of the Voting Deadline will be followed as promptly as
                     practicable by notice of the extension.
Voting               If you are a holder of a Claim in the Voting Classes, you should deliver a
Procedures:          properly completed Ballot to the Claims and Noticing Agent. Ballots must
                     be received by the Claims and Noticing Agent on or before the Voting
                     Deadline. Ballots may be delivered via [_________].
Revocation or        Upon the expiration or termination of this Solicitation, holders may not
Withdrawal of        revoke or withdraw their Ballots; provided, that prior to the Voting
Ballots:             Deadline, as may be extended, voting holders may withdraw any votes cast
                     even if such votes have been delivered to the Voting Agent.
Claims and           The Debtors have retained Omni Agent Solutions as the Claims and
Noticing Agent:      Noticing Agent in connection with this Solicitation. Deliveries of Ballots
                     should be directed to Omni Agent Solutions as set forth below or pursuant
                     to the instructions contained in the Ballots.

                E. VOTING PROCEDURES, BALLOTS, AND VOTING DEADLINE

          The following instructions for voting to accept or reject the Plan, together with the
instructions contained in the Ballot constitute the Voting Instructions. To vote on the Plan, you
must be a holder of a Claim in the Voting Classes as of the Voting Record Date. To vote, you
must fill out and sign the Ballot enclosed in the Solicitation Package (as defined below).

               1. Holders of Claims and Interests Entitled to Vote

         Under section 1124 of the Bankruptcy Code, a class of claims or equity interests is
deemed to be “impaired” under a plan unless (1) the plan leaves unaltered the legal, equitable
and contractual rights to which such claim or equity interest entitles the holder thereof or (2)
notwithstanding any legal right to an accelerated payment of such claim or equity interest, the
plan (a) cures all existing defaults (other than defaults resulting from the occurrence of events of
bankruptcy or defaults of a kind that do not require cure), (b) reinstates the maturity of such
claim or equity interest as it existed before the default, (c) compensates the holder of such claim
or equity interest for any damages from such holder’s reasonable reliance on such legal right to
an accelerated payment, (d) if such claim or such interest arises from a failure to perform
nonmonetary obligations, other than a default arising from a failure to operate a nonresidential
real property lease, compensates the holder of such claim or such interest (other than the debtor
or an insider) for any actual pecuniary loss incurred by such holder as a result of such failure and



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(e) does not otherwise alter the legal, equitable or contractual rights to which such claim or
equity interest entitles the holder of such claim or equity interest.

         The following table sets forth (a) a simplified summary of which Classes are entitled to
vote on the Plan and which are not, and (b) the estimated Allowed amount (in USD millions), the
estimated recovery percentage and/or the voting status for each of the separate Classes of Claims
and Interests provided for in the Plan.

        Class       Claim or Interest           Entitled to Vote         Estimated Allowed          Plan Recovery
                                                                              Amount4
    1             Other Priority Claims        No—Presumed to           $[__]                      100%
                                               Accept
    2             Other Secured Claims         No—Presumed to           $[__]                      100%
                                               Accept
    3A            2010 Credit Facility         Yes                      $[__]                      100%
                  Claims
    3B            2019 RCF Claims              Yes                      $[__]                      100%
    4A            2010 Bond Claims             Yes                      $[__]                      100%
    4B            2012 Bond Claims             Yes                      $[__]                      100%
    5             General Unsecured            Yes                      $[__]                      [___]%
                  Claims
    6             Abuse Claims                 Yes                      $[__]                      [___]%
    7             Interests in Delaware        No—Presumed to           N/A                        100%
                  BSA, LLC                     Accept




        In accordance with sections 1126 and 1129 of the Bankruptcy Code, the Voting Classes
are impaired under the Plan and, to the extent Claims in the Voting Classes are deemed Allowed,
the holders of such Claims will receive distributions under the Plan. As a result, the holders of
Allowed Claims in each of these Classes are entitled to vote to accept or reject the Plan.

         Holders of Claims in Classes 1 and 2 and holders of Interests in Class 7 are Unimpaired
under the Plan and are therefore conclusively presumed to have accepted the Plan pursuant to
section 1126(f) of the Bankruptcy Code. Accordingly, no holders of Claims or Interests in such
Classes shall be entitled to vote to accept or reject the Plan.

         Accordingly, the Debtors are only soliciting votes on the Plan from holders of Allowed
Claims or Interests in Classes 3A, 3B, 4A, 4B, 5, and 6. If your Claim or Interest is not included
in the Voting Classes, you are not entitled to vote and you will not receive a Solicitation
Package, including a Ballot setting forth detailed voting instructions. If your Claim is included in
the Voting Classes, you should read your Ballot and carefully follow the instructions included in
the Ballot. Please use only the Ballot that accompanies this Disclosure Statement or the Ballot
that the Debtors otherwise provided to you.


4
 Figures with respect to the Allowed amounts of the Claims set forth in this chart are based upon the Debtors’ best
estimates of such Claims as of the date of this Disclosure Statement.


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         If an objection has been filed with respect to your Claim, you are not entitled to vote on
the Plan (unless your Claim is only disputed in part, in which case you shall be entitled to vote
solely on account of the undisputed portion of your Claim) unless you obtain an order of the
Bankruptcy Court either resolving the objection or temporarily allowing your claim for voting
purposes. In addition, if your Claim is identified in the Schedules as disputed, contingent, or
unliquidated, you are not entitled to vote on the Plan unless you obtain any order of the
Bankruptcy Court temporarily allowing such Claim for voting purposes (or otherwise allowing
such Claim).

         As set forth in the Confirmation Hearing Notice and in the Disclosure Statement
Order, holders of Claims who seek to have their claims temporarily allowed by the
Bankruptcy Court for voting purposes must file on the docket and serve on parties entitled
to receive service thereof a motion seeking such relief no later than [____], 2020.

          A vote on the Plan may be disregarded if the Bankruptcy Court determines, pursuant to
section 1126(e) of the Bankruptcy Code, that it was not solicited or procured in good faith or in
accordance with the provisions of the Bankruptcy Code. The Disclosure Statement Order also
sets forth assumptions and procedures for determining the amount of Claims that each creditor is
entitled to vote in these Chapter 11 Cases and how votes will be counted under various
scenarios.

         Your vote on the Plan is important. The Bankruptcy Code requires as a condition to
confirmation of a plan of reorganization that each class that is impaired and entitled to vote
under a plan votes to accept such plan, unless the plan is being confirmed under the “cram-
down” provisions of section 1129(b) of the Bankruptcy Code. Section 1129(b) permits
confirmation of a plan of reorganization, notwithstanding the nonacceptance of the plan by one
or more impaired classes of claims or equity interests, so long as at least one impaired class of
claims or interests votes to accept a proposed plan. Under that section, a plan may be confirmed
by a bankruptcy court if it does not “discriminate unfairly” and is “fair and equitable” with
respect to each nonaccepting class.

               2. Vote Required for Acceptance by a Class of Claims

         Under the Bankruptcy Code, acceptance of a plan of reorganization by a class of claims
or interests is determined by calculating the amount and, if a class of claims, the number, of
claims and interests voting to accept, as a percentage of the allowed claims or interests, as
applicable, that have voted. Acceptance by a class of claims requires an affirmative vote of more
than one-half in number of total allowed claims in such class that have voted and an affirmative
vote of at least two-thirds in dollar amount of the total allowed claims in such class that have
voted. Acceptance by a class of interests requires an affirmative vote of at least two-thirds in
amount of the total allowed interests in such class that have voted.

               3. Solicitation Package

       The package of materials (the “Solicitation Package”) sent to the Voting Classes
contains:

                        a. the Ballot and applicable voting instructions;


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                        b. this Disclosure Statement and all exhibits hereto, including the Plan
                           and all exhibits thereto;

                        c. the order approving to Disclosure Statement Motion (without
                           exhibits) (the “Disclosure Statement Order”);

                        d. a notice of the Confirmation Hearing (the “Confirmation Hearing
                           Notice”); and

                        e. a cover letter from the Debtors.

         The Debtors will distribute the Solicitation Packages to holders of Claims in the Voting
Classes via [__________] before the Voting Deadline. In addition, the Plan, this Disclosure
Statement, and, once they are filed, all exhibits to both documents (including the Plan
Supplement) will be made available online at no charge at the website maintained by the
Noticing and Claims Agent, Omni Agent Solutions (the “Claims and Noticing Agent”), at
[_______]. In addition, the Debtors will provide parties in interest (at no charge) with hard
copies of the Plan and/or Disclosure Statement, as well as any exhibits thereto, upon request to
the Noticing and Claims Agent by email at [_________] or by telephone at [(___) ___-____].

               4. Voting Procedures, Ballots and Voting Deadlines

        [______], 2020 (the “Voting Record Date”) is the date that will be used for determining
which holders of Interests are entitled to vote to accept or reject the Plan and receive the
Solicitation Package in accordance with the solicitation procedures. Except as otherwise set forth
in the Plan or in this Disclosure Statement, the Voting Record Date and all of the Debtors’
solicitation and voting procedures shall apply to all of the Debtors’ creditors and other parties in
interest.

        If you are entitled to vote to accept or reject the Plan, one or more Ballot(s) has been
enclosed in your Solicitation Package for the purpose of voting on the Plan. Please vote and
return your Ballot(s) in accordance with the instructions accompanying your Ballot(s).

        You should carefully review (1) the Plan, (2) this Disclosure Statement, (3) the
Disclosure Statement Order, (4) the Confirmation Hearing Notice, and (5) the detailed
instructions accompanying your Ballot prior to voting on the Plan.

         After carefully reviewing these materials, including the detailed instructions
accompanying your Ballot(s), please indicate your acceptance or rejection of the Plan by
completing the Ballot(s). All votes to accept or reject the Plan with respect to any Class of
Claims entitled to vote on the Plan must be cast by properly submitting the duly completed and
executed form of Ballot designated for such Class. Holders of Claims voting on the Plan should
complete and sign the Ballot(s) in accordance with the instructions thereon, being sure to check
the appropriate box entitled “Accept the Plan” or “Reject the Plan.” In order for your vote to be
counted, you must complete and return your Ballot(s) in accordance with the instructions
accompanying your Ballot(s) on or before the Voting Deadline. Each Ballot has been coded to
reflect the Class of Claims it represents. Accordingly, in voting to accept or reject the Plan, you
must use only the coded Ballot or Ballots sent to you.


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        In order for the Holder of a Claim in the Voting Class to have such Holder’s Ballot
counted as a vote to accept or reject the Plan, such Holder’s Ballot must be properly completed,
executed, and delivered to [__________] so that such Holder’s Ballot is actually received by the
Claims and Noticing Agent on or before the Voting Deadline, i.e. [______], 2020 at [__]:00
[_].m. prevailing Eastern Time.

     IF A BALLOT IS RECEIVED AFTER THE VOTING DEADLINE, IT WILL NOT
BE COUNTED UNLESS THE DEBTORS DETERMINE OTHERWISE.

     ANY BALLOT THAT IS PROPERLY EXECUTED BY THE HOLDER OF A
CLAIM IN THE VOTING CLASSES BUT THAT DOES NOT CLEARLY INDICATE
AN ACCEPTANCE OR REJECTION OF THE PLAN, OR ANY BALLOT THAT
INDICATES BOTH AN ACCEPTANCE AND A REJECTION OF THE PLAN, WILL
NOT BE COUNTED FOR PURPOSES OF ACCEPTING OR REJECTING THE PLAN.

     EACH HOLDER OF A CLAIM IN THE VOTING CLASSES MUST VOTE ALL
OF ITS CLAIMS WITHIN SUCH CLASS EITHER TO ACCEPT OR REJECT THE
PLAN AND MAY NOT SPLIT SUCH VOTES. BY SIGNING AND RETURNING A
BALLOT, EACH HOLDER OF A CLAIM IN THE VOTING CLASSES WILL CERTIFY
TO THE BANKRUPTCY COURT AND THE DEBTOR THAT NO OTHER BALLOTS
WITH RESPECT TO SUCH CLAIM HAVE BEEN CAST OR, IF ANY OTHER
BALLOTS HAVE BEEN CAST WITH RESPECT TO SUCH CLASS OF CLAIMS,
SUCH OTHER BALLOTS INDICATED THE SAME VOTE TO ACCEPT OR REJECT
THE PLAN. IF A HOLDER CASTS MULTIPLE BALLOTS WITH RESPECT TO THE
VOTING CLASSES AND THOSE BALLOTS ARE IN CONFLICT WITH EACH
OTHER, SUCH BALLOTS WILL NOT BE COUNTED FOR PURPOSES OF
ACCEPTING OR REJECTING THE PLAN.

     IT IS IMPORTANT THAT THE HOLDER OF A CLAIM IN THE VOTING
CLASSES FOLLOW THE SPECIFIC INSTRUCTIONS PROVIDED ON SUCH
HOLDER’S BALLOT AND THE ACCOMPANYING INSTRUCTIONS.

              5. Confirmation Hearing and Deadline for Objections to Confirmation

        Under section 1128(a) of the Bankruptcy Code, the Bankruptcy Court, after notice, shall
hold a hearing to confirm a plan of reorganization. The Confirmation Hearing pursuant to section
1128 of the Bankruptcy Code will be held on [_____], 2020 at [_].m. prevailing Eastern Time,
before the Honorable Judge [_____], United States Bankruptcy Judge for the District of
Delaware, in the United States Bankruptcy Court for the District of Delaware, located at 824
North Market Street, [___] Floor, Courtroom [___], Wilmington, Delaware. The Confirmation
Hearing may be continued from time to time without further notice other than an adjournment
announced in open court or a notice of adjournment filed with the Bankruptcy Court and served
on those parties who have requested notice under Bankruptcy Rule 2002 and the entities who
have filed an objection to the Plan, if any, without further notice to parties in interest. The
Bankruptcy Court, in its discretion and prior to the Confirmation Hearing, may put in place
additional procedures governing the Confirmation Hearing. Subject to section 1127 of the



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Bankruptcy Code, the Plan may be modified, if necessary, prior to, during, or as a result of the
Confirmation Hearing, without further notice to parties in interest.

        Additionally, section 1128(b) of the Bankruptcy Code provides that any party in interest
may object to Confirmation. Any objection to Confirmation of the Plan must: (i) be made in
writing; (ii) state the name and address of the objecting party and the nature of the claim or
interest of such party; (iii) state with particularity the legal and factual basis and nature of any
objection to the Plan; and (iv) be filed with the Court and served on the Debtors and certain other
parties in interest in accordance with the applicable order of the Bankruptcy court so that they are
received on or before [________] at [__]:00 [_].m. prevailing Eastern Time.

      ARTICLE II. ORGANIZATION OVERVIEW AND CORPORATE HISTORY

                A. Organization Overview

               1. The Boy Scouts of America

        The BSA was incorporated in the District of Columbia on February 8, 1910, and
subsequently chartered by Congress as a non-profit corporation under Title 36 of the United
States Code on June 15, 1916. 36 U.S.C. §§ 30901-08. The Congressional Report in Support of
the Act to Incorporate the Boy Scouts of America provides that the Scouting program “is
intended to supplement and enlarge established modern educational facilities in activities in the
great and healthful out of doors where may be the better developed physical strength and
endurance, self-reliance, and the powers of initiative and resourcefulness, all for the purpose of
establishing through the boys of today the very highest type of American citizenship.” H.R. Rep.
No. 64-130 at 245 (1916). Consistent with this intention, the BSA’s congressional charter states
that the purpose of the organization is to “promote, through organization, and cooperation with
other agencies, the ability of boys to do things for themselves and others, to train them in
Scoutcraft, and to teach them patriotism, courage, self-reliance, and kindred virtues, using the
methods which are now in common use by Boy Scouts.” BSA Charter, § 3; see also BSA
Bylaws, § 2 (“In achieving this purpose, emphasis shall be placed upon its educational program
and the oaths, promises, and codes of the Scouting program for character development,
citizenship training, leadership, and mental and physical fitness.”). These mandates have been
the guiding light for the BSA’s work for over a century.

        As a non-profit corporation, the BSA is required to adopt and carry out a charitable,
religious, educational, or other philanthropic mission. It is the BSA’s mission “to prepare young
people to make ethical and moral choices over their lifetimes by instilling in them the values of
the Scout Oath and Law.” See https://www.scouting.org/legal/mission/. Unlike a profit-seeking
corporation, the BSA’s senior leadership owes fiduciary duties to the Scouting mission, not the
generation of profits. The successful delivery of this mission to youth in America is the BSA’s
fiduciary obligation. To that end, all Scouting policies, practices, and programming are
specifically designed to train Scouts in responsible citizenship, character development, and self-
reliance, in a manner consistent with the BSA’s mission. Thus, to be eligible for Scouting,
individuals must subscribe to, and conduct themselves in accordance with, the Scout Oath and
the Scout Law:




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                   Scout Oath. “On my honor I will do my best to do my duty to God and my
                    country and to obey the Scout Law; to help other people at all times; to keep
                    myself physically strong, mentally awake, and morally straight.”5

                   Scout Law. “A Scout is trustworthy, loyal, helpful, friendly, courteous, kind,
                    obedient, cheerful, thrifty, brave, clean, and reverent.”6

At all levels of Scouting, these fundamental tenets of the BSA’s mission are taught to Scouts so
they can successfully develop into our nation’s next generation of great leaders.

        In support of its mission, the BSA has long facilitated the spread of Scouting in the
United States through units chartered by local partners and has also designed and implemented
an array of its own outdoor activities, educational and skill-building programs, and career
training. Since its inception, more than 130 million Scouts have participated in the BSA’s
programming, and more than 35 million adult leaders have helped carry out the BSA’s mission.
The BSA has grown to be one of the largest youth organizations in the country, as well as one of
the largest Scouting organizations in the world. In 2019, nearly three million Scouts and adult
leaders were involved in Scouting and helped deliver more than 13 million Scouting service
hours to communities across the country.

        Throughout its 110-year history, the BSA has continually looked for ways to offer
Scouting to more young men and women. In 1912, the BSA formed the Camp Fire Girls as a
sister organization. In the 1930s, the BSA introduced Cub Scouts as a program for younger
participants. Other past and current BSA programs include Air Scouts, Sea Scouts, Exploring,
Venturing, and STEM Scouts. In 2018, the BSA welcomed girls into Cub Scouts, and in 2019,
the BSA began chartering girl units to join Scouts BSA, the program previously known as Boy
Scouts. Since 2017, over 200,000 girls have participated in Scouting, including approximately
130,000 in Cub Scouts, 30,000 in Scouts BSA, and 65,000 in Venturing, Sea Scouts, and
Exploring. The BSA has also organized affiliated organizations and affinity groups—such as
Learning for Life, Order of the Arrow, and National Eagle Scout Association—to provide
additional educational, civic, and developmental programs for Scouts, as well as engagement
opportunities for Scouting alumni and supporters.

        The BSA also provides other services critical to continued Scouting opportunities for
America’s young men and women, including core program content, such as events and other
activities at high adventure facilities; the procurement and sale of uniforms and equipment;
information technology and digital resources; training of professional Scouters to serve in Local
Councils; communications and publications including magazines and online content for Scouts
and adult leaders; training development and delivery; national events; registration systems; and
other quality control services. In addition, every four years, the BSA hosts a National Jamboree,
where tens of thousands of Scouts from around the country gather to celebrate Scouting, learn
about teamwork and leadership, and develop lifelong friendships.

           The national headquarters of the BSA is in Irving, Texas. The BSA has approximately

5
    See BSA, What are the Scout Oath and Law?, available at https://www.scouting.org/discover/faq/question10/.
6
    See BSA, About the BSA, available at https://www.scouting.org/about/.


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1,650 employees, all of whom are located in the United States and its territories. The BSA’s
employees are located at its headquarters; at the BSA’s national warehouse and distribution
center in Charlotte, North Carolina; at approximately 174 official BSA Scout Shops located
throughout the country; and at the BSA’s four high adventure facilities located in Florida and the
U.S. Virgin Islands, New Mexico, West Virginia, and Minnesota and parts of Canada. The
BSA’s sources of funding include membership fees, high adventure facility fees, donor
contributions, legacies, and bequests, corporate sponsorships, grants from foundations, and
supply sales at Scout shops, on its website, and directly to Local Councils. In 2019, the BSA’s
total gross revenues were approximately $394 million. Of this total, approximately 30% were
attributable to supply sales, approximately 16% to membership fees, approximately 15% to high
adventure facility operations, approximately 13% to investments, approximately 8% to
contributions, and approximately 8% to event fees.

               2. The Scouting Experience

        Delivery of the Scouting mission is the fiduciary obligation of the BSA. Local Councils
and Chartered Organizations, and the Scouting units that they sponsor, operationalize this
mission. Through these organizations, Scouts learn the values embodied in the Scout Oath and
Scout Law. From the beginner-level Cub Scouts to the most advanced offerings at high
adventure facilities, all Scouting programming is intended to instill in the next generation of
leaders the fundamental tenets of the BSA’s mission.

                       a. Cub Scouts

        The gateway to the Scouting program is Cub Scouts, where younger participants
(kindergarten through fifth grade) first build character, learn citizenship, and develop personal
skills and physical fitness. The den—a small group of six to eight children who are the same
grade and gender—is the cornerstone of Cub Scouting. In the den, Cub Scouts make friends,
develop new skills and interests, and learn respectfulness, sportsmanship, and citizenship.
Several dens in the same community form a pack. At pack meetings, Cub Scouts engage in a
wide range of fun and interactive activities, including games, arts and crafts, skits, and songs.
Packs also hold special events and activities, such as advancement banquets, field trips,
community service projects, and, most famously, the Pinewood Derby. Cub Scouts attend camp
outings and participate in other local outdoor activities, such as hiking, biking, swimming,
sledding, and a variety of team sports, all of which help instill in them a life-long respect for the
environment, a core principle of the Scouting mission. Many of these outdoor adventures are
held at Local Council-owned properties specifically developed and maintained for the purpose of
delivering the Scouting program. Cub Scout programming is family-oriented and adult
volunteers, many of whom are parents of participating Cub Scouts, play an active role in den and
pack leadership.

                       b. Scouts BSA

       After Cub Scouts, youth participants progress to Scouts BSA. The Scouts BSA program
focuses on service to others, community engagement, leadership development, respect for the
environment, and personal and professional growth. In Scouts BSA, adult volunteers take a back
seat, and Scouts themselves assume important leadership roles at their own meetings and


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activities. Scouts BSA units, known as “troops,” are single-gender and composed of several
smaller groups called “patrols.” At patrol and troop meetings, Scouts engage in knowledge- and
skill-based challenges, team building exercises, and community service projects, such as
cleaning parks and other public spaces, enhancing nature preserves, building trails in wildlands,
constructing playgrounds, creating libraries, collecting meals for food banks, visiting with the
sick or elderly, or responding to national emergencies.

         In Scouts BSA, every Scout is able to take on a leadership role in his or her patrol, which
provides one of the unique experiences in Scouting that inspires young people from all
backgrounds, experiences, and capabilities to see themselves as a leader and hone skills that will
last a lifetime. In addition, Scouts are encouraged to participate in a wider suite of outdoor
activities, including weekend camping trips, summer camps, and themed-camporees where they
are exposed to more advanced Scouting programming and skill-building in diverse areas, such as
first aid, rock climbing, forestry, conservation, and environmental awareness. At these events,
Scouts from different troops work together and form life-long bonds. Local Council camps and
other facilities are the hub for many of these outdoor adventures.

        Central tenets of Scouts BSA programming are rank advancement and merit badges.
Young men and women begin their journey in Scouts BSA at the rank of Scout. As they master
skills and learn important life lessons, they progress to the ranks of Tenderfoot, Second Class,
First Class, Star, and then Life. Along the way, Scouts earn merit badges that recognize hard
work and achievement in sports, arts, sciences, trades, personal finance, and future careers. Just
last year, young men and women earned more than 1.7 million merit badges that represent skills
that will help them succeed throughout their lives.

       Scouts who successfully complete this rigorous program, serve as a leader in their troop
of a designated period of time, and design and lead a significant service project, are awarded
Scouts BSA’s highest rank of Eagle. Less than 8% of Scouts achieve the Eagle Scout rank, and
past Scouts achieving this honor permeate our nation’s government, economy, and culture,
including President Gerald Ford, astronaut Neil Armstrong, civil rights leader Percy Sutton, and
entrepreneurs Sam Walton and Ross Perot, to name a few.

                       c. Advanced Scouting

        In addition to Scouting’s core Cub Scouts and Scouts BSA offerings, older Scouts
participate in other advanced programs. In Venturing, co-ed groups form their own Scout-led
“crews” that design and carry out specialized programming and activities. The opportunities
available through Venturing are endless: A Scout interested in the outdoors can join a Venturing
crew that backpacks in state or national parks and kayaks in local or remote rivers; a Scout
interested in the sciences can join one that builds robots or volunteers at planetariums and
museums; and a Scout interested in community service can join one that volunteers at soup
kitchens or rebuilds homes in the wake of natural disasters. Venturing crews instill in their
members the importance of adventure, leadership, personal growth, and service, all of which are
fundamental to the Scouting mission.

       Other advanced programs for older Scouts include Sea Scouts, where Scouts learn
boating skills and water safety, and also study maritime heritage. Sea Scouts participate in


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boating and other water-based excursions, such as scuba diving off the Florida Keys and
kayaking in the Everglades. Another program, Exploring, is the BSA’s preeminent workforce
development program. Through Exploring, Scouts join career-specific clubs sponsored by local
businesses, government agencies, and community organizations. Scouts develop important
personal and professional skills through immersive, on-the-job training. And STEM Scouts
offers the Scouting experience with less emphasis on the outdoors. Participating young men and
women learn about and nurture a lifelong interest in science, technology, engineering, and math
through creative, hands-on activities, educational field trips, and interaction with STEM
professionals.

                      d. High Adventure Facilities

         The apex of the Scouting program is found at the four iconic high adventure facilities
operated by the BSA. At these facilities, Scouts experience the truest embodiment of what
Congress envisioned when it chartered the organization more than a century ago—unparalleled
facilities hosting outdoor activities, educational programs, and leadership training. As Scouts
progress through Scouting, these high adventure facilities provide them with opportunities to
implement the knowledge and training that they gained through Cub Scouts and Scouts BSA at
locations and in programs that are not available anywhere else in the country. Not surprisingly,
there is strong demand for these high adventure facilities—more than 70,000 Scouts and
Scouters participate in the programs and events held there every year, and more than two million
have done so since their openings. As their storied histories portend, these facilities and the
programming they allow play a critical role in the BSA’s delivery of the Scouting program to
young Americans.

                               (i)    Northern Tier

        The BSA opened Northern Tier—located on the boundary waters between Minnesota and
Canada—as its first high adventure facility in 1923. For nearly a century, the BSA has
maintained several wilderness canoe bases at Northern Tier from which generations of Scouts
have explored millions of acres of lakes, rivers, forests, and wetlands of northern Minnesota,
northwestern Ontario, and southeastern Manitoba. Scouts at Northern Tier embark on canoe treks
covering up to 150 miles and lasting as long as two weeks. Along the way, Scouts camp at
remote, unstaffed campgrounds, where they must learn and implement Scouting’s philosophy of
self-sufficiency. In the winter, Northern Tier transforms into a cold-weather camping outpost,
where Scouts can engage in winter activities such as cross-country skiing, dog sledding, snow
shoeing, and ice fishing. Over the years, the BSA has hosted almost 250,000 Scouts and Scouters
at Northern Tier. See generally Northern Tier, About Northern Tier, available at
https://www.ntier.org/about/.

                               (ii)   Philmont Scout Ranch

        The BSA’s largest high adventure facility, Philmont, was opened in 1938 on nearly
150,000 acres of rugged mountain wilderness in the Sangre de Cristo range of the Rocky
Mountains in northeastern New Mexico. At Philmont, Scouts have access to a labyrinth of
backpacking trails, as well as 35 staffed camps and 55 trail camps, spread across mountainous
terrain ranging in elevation from 6,500 to 12,500 feet. In addition, the BSA’s programming at


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Philmont features the best of the Old West—horseback riding, burro packing, gold panning,
chuckwagon dinners, and interpretive history—along with physical challenges such as rock
climbing, mountain biking, and sport shooting. These experiences teach Scouts about our
nation’s frontier history and instill in them a lifelong sense of adventure and confidence in
challenging situations. In addition, Philmont hosts a series of leadership training programs for
adult leaders. Well over a million Scouts and Scouters have experienced the unique and diverse
offerings of Philmont. See generally Philmont Scout Ranch, About Philmont, available at
https://www.philmontscoutranch.org/about/.

                                (iii)   Florida Sea Base

         Florida Sea Base (“Sea Base”) was commissioned by the BSA as its third high adventure
facility in 1980. At several facilities in south Florida and the U.S. Virgin Islands, Scouts swim,
snorkel, scuba dive, and fish. Scouts also participate in boating and sailing adventures throughout
the Caribbean, as well as primitive camping on several island-based settlements. Through Sea
Base’s programming, Scouts learn to trust one another and work as a team, and also learn the
importance of conservation and the preservation of our environment. Since opening its doors, the
BSA has provided aquatic adventures to nearly 300,000 Scouts and Scouters at Sea Base. See
generally Sea Base, About Sea Base, available at https://www.bsaseabase.org/about/.

                                (iv)    Summit Bechtel Reserve

        Most recently, in 2013, the BSA opened the Summit Bechtel Reserve (“Summit”) in the
wilds of West Virginia. It is the preeminent summer camp, high adventure facility, and
leadership training center for the millions of Scouts and adult leaders involved in Scouting now
and for generations to come. At the Summit, Scouts explore the New River Gorge region through
white-water rafting, kayaking, canyoneering, and advanced orienteering, Scouts also participate
in more modern adventures, such as skateboarding, ATV riding, freestyle BMXing, and zip-
lining. This programming pushes Scouts past their comfort zones, where they can better develop
and master the leadership, character, citizenship, and fitness that are core to the BSA’s mission.
In addition to its regular programming, the BSA hosts a National Jamboree at the Summit every
four years. In 2019, the BSA hosted the largest World Jamboree ever, with over 45,000 attendees
Scouts in attendance from 167 countries. It was the first such event held in the United States in
over 50 years. All told, approximately 200,000 Scouts and Scouters have experienced the
wonders of the Summit since it opened less than a decade ago. See generally Summit Bechtel
Reserve, About Us, available at https://www.summitbsa.org/about-us/summit-story/.

               3. Delivery of the Scouting Programs

        Local Councils, and Chartered Organizations work closely together to carry out the
mission of Scouting. Each of these entities plays a vital role in training Scouts in responsible
citizenship, character development, and self-reliance. Despite their common purpose, the BSA,
Local Councils, and Chartered Organizations are legally independent entities. Each Local
Council is a non-profit corporation under the laws of its respective state and exempt from federal
income tax under section 501(c)(3) of the Internal Revenue Code. Each Local Council also
maintains its own senior management and independent volunteer board of directors. The BSA
does not hold any equity interest in any Local Council, Chartered Organization, or Scouting unit,


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and only the BSA and its wholly owned subsidiary, Delaware BSA, LLC, are debtors in these
Chapter 11 Cases.7

                          a. Local Councils

      In furtherance of its mission, the BSA charters independently incorporated Local
Councils to facilitate the delivery of the Scouting program. Local Councils are not agents of the
BSA, and they have no authority to bind the organization.

        There are currently 261 Local Councils, covering geographic areas of varying size,
population, and demographics. Although they are legally independent of the BSA, Local
Councils are required to organize, operate, and promote Scouting in a manner that is consistent
with the BSA’s mission and with the BSA’s charter, bylaws, rules and regulations, policies, and
guidelines. Local Councils generally do not receive financial support from the BSA; instead,
they rely upon their own fundraising through donations, product sales, special events, and
corporate gifts. The BSA does, however, provide certain corporate and administrative support to
the Local Councils in exchange for shared-services and other fees and reimbursements, as well
as for the assistance of Local Councils in delivering the Scouting mission. This support includes
human resources, access to training facilities, marketing services, and general liability insurance
coverage.

        Although not a precise analogue, the relationship between the BSA and the Local
Councils is similar to that of a franchisor and franchisee. The BSA is responsible for developing
and disseminating the structure and content of the Scouting program, owns and licenses
intellectual property, and provides training and support services, including corporate services
such as human resources, marketing and legal functions, and information technology. The BSA,
in addition to holding the power to grant charters to Local Councils, may also revoke a Local
Council’s charter for failing to meet national standards. Local Councils, for their part, play a key
role in delivering the Scouting program. Local Councils also serve the vital function of collecting
member fees and remitting such funds to the BSA. Each of these Local Councils is crucial to the
BSA’s ability to carry out its mission.

       The most important functions served by Local Councils are their recruiting of Chartered
Organizations and their oversight of the operation of the Scouting units that those Chartered
Organizations create. Local Councils also provide other services essential to Scouting, including:
funding of local Scouting programs and initiatives; recruiting of Scouts and volunteer leaders;
providing Scout and volunteer training; offering opportunities for rank advancement; locally
enforcing the BSA’s policies, rules, and regulations; and registering members and leaders. In
addition, many Local Councils own and operate service centers, camps, and other facilities that
provide the local resources necessary for a successful Scouting program.

      A corps of qualified and trained professional and volunteer Scouters is essential for Local
Councils to provide these services. To that end, each of the Local Councils hires a professional

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  In addition to Local Councils and Chartered Organizations, the BSA is also affiliated with several non-stock
entities, each of which is related to, but legally independent of, the BSA. Several of these affiliated, non-stock
entities are directly involved in delivering the Scouting program, while others, such as the National Boy Scouts of
America Foundation, serve the BSA’s mission in other ways.


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Scout executive and other key staff from a pool of professionals—pre-commissioned by the
BSA—who have demonstrated the moral, educational, and emotional qualities necessary for
leadership. Those commissioned professionals and other staff members support the Local
Councils in connection with day-to-day operations, recruitment of new Chartered Organizations,
management of fundraising, maintenance of program facilities, and numerous other services.
Thousands of volunteers also donate their time and resources to support the Local Councils,
including through assistance with programming, such as unit leadership, unit activities, merit
badge colleges, youth and adult leader training and advancement opportunities, and fundraising
events.

                      b. Chartered Organizations

        There are currently more than 41,000 Chartered Organizations in the country. They are
typically local organizations—such as faith-based institutions, clubs, civic associations,
educational institutions, businesses, and groups of citizens—that sponsor the more than 81,000
local Scouting units throughout the country. Some Chartered Organizations are actively involved
with the units that they sponsor and use Scouting as a means to further in their own mission or
serve their broader communities. In addition, Chartered Organizations assist with recruiting and
vetting adult leaders and other volunteers, and provide meeting space and other monetary and in-
kind support to the packs and troops that they sponsor.

                B. Corporate and Capital Structure

                1. Affiliated Entities

                      a. Delaware BSA, LLC

        Debtor Delaware BSA, LLC (“Delaware BSA”), of which the BSA is the sole member, is
a non-profit limited liability company that was incorporated under the laws of Delaware on July
11, 2019. Delaware BSA is exempt from federal income tax under section 501(c)(3) of the
Internal Revenue Code. Delaware BSA has pledged substantially all of its assets to secure the
obligations of the BSA and Arrow under the 2019 RCF Agreement, the Prepetition Security
Agreement (2020), the 2010 Bond Agreement and the 2012 Bond Agreement. Delaware BSA’s
principal asset is a depository account located in Delaware.

                      b. BSA Asset Management, LLC and BSA Commingled Endowment
                         Fund, LP

        Related Non-Debtor Entity BSA Asset Management, LLC (“Asset Management”) is a
Delaware limited liability company of which the BSA is the sole member. BSAAM manages the
BSA’s and certain Local Councils’ investments through the BSA Commingled Endowment
Fund, LP (the “Endowment Fund”), a Delaware limited partnership of which BSAAM is the
general partner. The BSA and certain Local Councils are limited partners of the Partnership.
Each limited partner receives units of partnership interest in proportion to, and in exchange for,
its financial contributions to the Partnership. In addition to its role as general partner of the
Partnership, BSAAM is the settlor of the BSA Endowment Master Trust.




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                      c. BSA Endowment Master Trust

        Related Non-Debtor Entity BSA Endowment Master Trust (the “Master Trust”) is a non-
profit 501(c)(3) Delaware trust established under the laws of Delaware exclusively for the
purpose of investing funds contributed to the Partnership by the BSA and participating Local
Councils. The Master Trust is a multiple pooled account trust arrangement established to provide
economies of scale and efficiency of administration to eligible entities that elect to invest their
funds in the Master Trust. Global Trust Co. is the trustee of the Master Trust as of the Petition
Date. In addition, the Master Trust is also a limited partner of the Endowment Fund

                      d. National Boy Scouts of America Foundation

       Related Non-Debtor Entity National Boy Scouts of America Foundation (the “National
Foundation”) is a non-stock, non-profit corporation under the laws of the District of Columbia
and exempt from federal income taxes under section 501(c)(3) of the Internal Revenue Code.
The Foundation exists to help secure the future of Scouting at the Local Council level by
providing support for major-gift fundraising efforts across the organization. The Foundation is
governed by a separate board of directors.

                      e. Learning for Life

        Related Non-Debtor Entity Learning for Life is a non-stock, non-profit corporation under
the laws of the District of Columbia that is exempt from federal income taxes under section
501(c)(3) of the Internal Revenue Code. The mission of Learning for Life is to empower students
to build exceptional character and leadership skills by guiding them through an innovative,
research-based curriculum that enhances the learning experience and teaches the skills necessary
to succeed both academically and throughout their lives. Learning for Life also administers the
Exploring club career education program for young men and women. The Exploring program
teaches important life and career skills to young people from all backgrounds through immersive
career experiences and mentorship provided by thousands of local, regional and national
businesses and organizations, which offer career-specific posts or clubs that help youth pursue
their special interests, grow and develop. Learning for Life is governed by a separate board of
directors.

                      f. Arrow WV, Inc.

        Arrow WV, Inc. (“Arrow”) is a non-stock, non-profit corporation under the laws of West
Virginia that is exempt from federal income tax under section 501(c)(3) of the Internal Revenue
Code. Arrow was formed in 2009 to facilitate the acquisition and development of the Summit.
Arrow owns the real property and improvements that comprise the Summit and leases the
Summit to BSA. Construction of the Summit was accomplished with the proceeds from the 2010
Bond and the 2012 Bond to the BSA from Fayette County, West Virginia. The bonds were
issued and purchased by JPMorgan Chase Bank, National Association (“JPMorgan” or the
“Prepetition Secured Lender”). The BSA provided funding for the construction of the facility
utilizing donations and pledges to the BSA and other BSA financial support. Arrow is governed
by separate board of directors.




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                            g. Atikaki Youth Ventures Inc. and Atikokan Youth Ventures Inc.

       Related Non-Debtor Entities Atikaki Youth Ventures Inc. (“Atikaki”) and Atikokan
Youth Ventures Inc. (“Atikokan”) are non-share capital corporations formed under the laws of
Canada, with registered addresses in Winnipeg, Manitoba. Atikaki maintains the Bissett,
Manitoba base for the Northern Tier high adventure facility, which offers canoe trips into the
Atikaki Provincial Park and Woodland Caribou Provincial Park. Atikokan maintains the Don
Rogert Canoe Base for the Northern Tier high adventure facility in Atikokan, Ontario, Canada,
which offers canoe trips into the Quetico and Crown Lands. Each of Atikaki and Antikokan are
governed by separate boards of directors.

                            h. Texas BSA, LLC

         Related Non-Debtor Entity Texas BSA, LLC (“Texas BSA”) is a non-profit limited
liability company that was incorporated under the laws of Texas on July 12, 2019. The BSA is
the sole member of Texas BSA. As of the Petition Date, Texas BSA is an inactive entity.

                            i. NewWorld 19, LLC

        Related Non-Debtor Entity NewWorld 19, LLC, (“NewWorld”) was formed in
connection with the 2019 World Jamboree. As of the Petition Date, NewWorld is an inactive
entity.

                    2. Capital Structure

        The following is an overview of the BSA’s capital structure and approximate outstanding
obligations (collectively, “Prepetition Obligations”) under the 2010 Credit Agreement, the 2010
Bond Agreement, the 2012 Bond Agreement, and the 2019 RCF Agreement (collectively, the
“Prepetition Secured Agreements”) as of the Petition Date:



            Description                           Amount ($mm)8         Interest Rate      Maturity
    2019 RCF Agreement
        - 2019 RCF Revolver                                      $[0]        L + 125       Mar. 2021
        - 2019 RCF Letters of Credit                      $61,542,720
    2010 Credit Agreement
        - 2010 Revolver                                $25,212,317           L + 125       Mar. 2020
        - 2010 Term Loan                               $11,250,000           L + 100       Mar. 2022
        - 2010 Letters of Credit                       $44,299,743
    2012 Bond Agreement                               $145,662,101           2.94%         Mar. 2022
    2010 Bond Agreement                                $40,137,274           3.22%         Nov. 2020



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    Estimated amounts as of February 18, 2020.


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    Total Secured Debt                             $328,104,1559

        Collectively, the Prepetition Obligations total approximately $328,104,155. Each
Prepetition Secured Agreement is secured by the same collateral (“Prepetition Collateral”)—
substantially all property loaned, leased, or operated by the Debtors and Arrow. Under each
Prepetition Secured Agreement, the BSA is the borrower and JPMorgan is the sole secured
lender thereto. The Debtors assert that the value of the Prepetition Collateral exceeds the value of
the Prepetition Obligations.

                         a. 2010 Credit Agreement

       On August 11, 2010, the BSA entered into the $100.0 million 2010 Credit Agreement
with JPMorgan. Arrow is a guarantor under the facility. The 2010 Credit Agreement has been
amended seven times, most recently in conjunction with the entry into the 2019 RCF Agreement
on March 21, 2019.

       The 2010 Credit Agreement has two components, a $75.0 million revolving credit
component (the “2010 Revolver”) and a $25.0 million term loan component (the “2010 Term
Loan”). The 2010 Revolver, which allows the organization to issue letters of credit, is scheduled
to mature on March 2, 2020, while the 2010 Term Loan is scheduled to mature on March 2,
2022.

        Pursuant to the terms of the 2010 Credit Agreement, the BSA’s outstanding obligations
under the 2010 Credit Agreement are secured by the “Collateral,” which was defined under that
certain Security Agreement dated August 11, 2010 (as amended on November 5, 2010 and March
9, 2012, the “Original Security Agreement”) and the 2010 Credit Agreement as (a) a lien on all
“accounts,” “payment intangibles,” (each as such defined in Article 9 of the Uniform
Commercial Code) and the proceeds thereof and (b) all property in which liens were granted to
the Prepetition Agent.

        In connection with the BSA’s entry into the 2019 RCF Agreement on March 21, 2019,
the Original Security Agreement was amended and restated pursuant to the Prepetition Security
Agreement (2019). Pursuant to the Prepetition Security Agreement (2019) and certain mortgages
(collectively, the “Mortgages”), BSA and Arrow granted to JPMorgan contemporaneously with
the BSA’s entry into the 2019 RCF Agreement a security interest in the organization’s (a)
headquarters in Texas and (b) high-adventure facilities in Florida, West Virginia, New Mexico,
and Minnesota/Canada ((a) and (b), collectively, the “Mortgaged Properties”). The Original
Security Agreement is secured by the Prepetition Collateral pari passu with the other Prepetition
Secured Agreements.

       As of the Petition Date, the Debtors are truly, justly, and lawfully indebted and liable to
JPMorgan for $25,212,317 in respect of revolving loans made, $11,250,000 in respect of term
loans made, and $44,299,743 in respect of undrawn letters of credit issued by JPMorgan under
the 2010 Credit Agreement.

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 These amounts include contingent, undrawn letters of credit under the 2019 RCF Agreement and the 2010 Credit
Agreement totaling $105,842,463.


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                      b. 2010 Bond Agreement

        On November 5, 2010, BSA and Arrow entered into the 2010 Bond Agreement, pursuant
to which the Issuer issued the Series 2010A Bonds in an aggregate principal amount of
$50,000,000 and Series 2010B Bonds in an aggregate principal amount of $50,000,000
(collectively, the “2010 Bonds”), the proceeds of which were loaned to BSA. On November 5,
2015, the BSA repaid the Series 2010A Bonds in full. The loans from the Issuer to BSA were
evidenced by that certain Promissory Note - 2010A executed by BSA and payable to the order of
the Issuer in the original principal amount of $50,000,000 which notes were pledged by the
Issuer to secure the repayment of the Series 2010A Bonds, and the 2010 Note,. As of the date of
issuance of the 2010 Bonds and all dates thereafter, the 2010 Bonds were secured pari passu in
the same collateral as the loans under the 2010 Credit Agreement.

      As of the Petition Date, the Debtors are truly, justly, and lawfully indebted and liable to
JPMorgan for $40,137,274 for the remaining outstanding 2010 Bonds under the 2010 Bond
Agreement.

                      c. 2012 Bond Agreement

        On March 9, 2012, the BSA and Arrow entered into the 2012 Bond Agreement with the
Issuer and JPMorgan, pursuant to which the Issuer issued the Series 2012 Bonds(“2012 Bonds”)
in an aggregate principal amount not to exceed $175 million. As of the date of issuance of the
2012 Bonds and all dates thereafter, the 2012 Bonds were secured pari passu in the same
collateral as the loans under the 2010 Credit Agreement and the 2010 Bonds. The loans from the
Issuer to BSA are evidenced by 2012 Note.

      As of the Petition Date, the Debtors are truly, justly, and lawfully indebted and liable to
JPMorgan for $145,662,101 under the 2012 Bond Agreement.

                      d. 2019 RCF Agreement

        On March 21, 2019, the BSA entered into the $71.5 million 2019 RCF Agreement with
JPMorgan, with Arrow as a guarantor. The 2019 RCF Agreement, which matures on March 21,
2021, is a secured facility with a revolving component and a component under which the BSA
can issue letters of credit.

       In connection with the execution of the 2019 RCF Agreement, the Debtors granted
JPMorgan security interests in the Prepetition Collateral. At the time of the execution, the
Debtors contemporaneously entered into the Prepetition Security Agreement (2019) and granted
JPMorgan the Mortgages in the Mortgaged Property. The 2019 RCF Agreement is secured pari
passu with the other Prepetition Secured Agreements.

       As of the Petition Date, the Debtors are truly, justly, and lawfully indebted and liable to
JPMorgan for $0 in respect of loans made and $61,542,720 in respect of undrawn letters of credit
issued by JPMorgan under the 2019 RCF Agreement.




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                      e. Prepetition Security Agreement (2020)

       On February 3, 2020, in connection with a capital contribution by the BSA to Delaware
BSA, the BSA, Delaware BSA, and JPMorgan entered into the Prepetition Security Agreement
(2020). Pursuant to the Prepetition Security Agreement (2020), Delaware BSA pledged its
accounts and other property, except to the extent excluded by the Prepetition Security Agreement
(2020), as security for the Prepetition Obligations.

                3. General Unsecured Claims

       General Unsecured Claims consist of any Claim against the Debtors that is not an
Administrative Expense Claim, a Priority Tax Claim, an Other Priority Claim, an Other Secured
Claim, a 2010 Credit Facility Claim, a 2019 RCF Claim, a 2010 Bond Claim, a 2012 Bond
Claim, or an Abuse Claim that are neither secured by collateral nor entitled to priority under the
Bankruptcy Code or any order of the Bankruptcy Court.

        Any Rejection Damages Claims for damages alleged to arise from the rejection of an
Executory Contract or Unexpired Lease pursuant to section 365 of the Bankruptcy Code shall be
classified as Allowed General Unsecured Claims and treated in accordance with Section III.B.7
of the Plan.

      The Debtors anticipate that General Unsecured Claims will include trade Claims, workers
compensation Claims, non-Abuse litigation Claims (primarily for personal injury), deferred
compensation Claims, and Claims relating to the Debtors’ retirement programs.

                C. Corporate Governance


        Pursuant to section 1129(a)(5) of the Bankruptcy Code, to the extent that there are
anticipated changes in the Reorganized Debtors’ directors and officers, the Debtors will identify
those changes in the Plan Supplement and thereafter such changes will be attached to the Plan as
Exhibit Q. After the Effective Date, the Reorganized Debtors’ organizational documents, as each
may be amended thereafter from time to time, shall govern the designation and election of
directors of the Reorganized Debtors.

            ARTICLE III. EVENTS LEADING TO THE CHAPTER 11 CASES

        The safety of children in its programs is the most important priority of the BSA. The
BSA today enforces a robust set of multilayered policies and procedures to protect the young
men and women involved in Scouting. These measures are informed by respected experts in the
fields of child safety, law enforcement, and child psychology. The BSA is committed to the
protection of its Scouts, and that commitment is integral to the BSA’s identity and mission as it
seeks to continue instilling values of leadership, service, and patriotism in millions of children
who participate in Scouting programs across the country.

                A. Child Sexual Abuse Claims against the BSA

       Despite its current record, in the past, predominately at a time when there was little


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expertise across any organization about the topic of abuse prevention, predators were able to use
Scouting and other youth programs to access children. Given these past events and recent
changes in the legal landscape governing sexual abuse claims, the BSA and Local Councils are
defendants in hundreds of lawsuits related to acts of sexual abuse in its Scouting programs. The
vast majority of these claims date back to more than 30 years ago, before the BSA implemented
a series of strengthened policies and practices designed to keep Scouts safe. These enhanced
youth-protection measures have proven effective—Scouts are now safer than they have ever
been.

       The BSA recognizes that current youth protection efforts cannot change the past. Nor can
they repair the damage caused by abuse suffered by Scouts because of those who used the
program to harm children. The BSA is committed to providing equitable compensation to
victims and to continually improving its policies and practices to prevent future abuse in
Scouting. However, the cost of addressing historical abuse claims has become unsustainable. The
BSA cannot continue to address these claims through piecemeal litigation and remain viable as a
non-profit corporation. Accordingly, the BSA has determined this filing is necessary to both
compensate victims and ensure that the BSA retains the capability to carry out its mission.

        As of the filing of this case, there were approximately 275 pending civil actions asserting
personal injury claims against the BSA and certain Local Councils and Chartered Organizations
related to abuse suffered by a Scout at the hands of a Scouting leader, volunteer, or another
member of the BSA (collectively, “Pending Abuse Actions”). The Pending Abuse Actions are
being litigated in dozens of state and federal jurisdictions around the country. Although the
Pending Abuse Actions vary in their procedural posture, very few are close to trial and most are
in either the discovery or motion-practice phase.

        The BSA believes the ongoing publicity surrounding such claims has encouraged many
victims to come forward in advance of this filing, and has been made aware of approximately
1,400 additional claims of Abuse. In sum, the BSA is aware of approximately 1,700 pending or
asserted claims of Abuse against the BSA or a Local Council. To the extent claims of Abuse
have not been asserted, the BSA encourages individuals to submit proofs of such claims prior to
the BSA’s requested bar date.

                1. The Impact of Statute-of-Limitations Changes on Claims against the BSA
                   and Non-Debtor Stakeholders

        The number of claims against the BSA has increased dramatically over the past twenty
years due to changes to state statutes of limitations governing causes of action alleging child
sexual abuse. Since 2002, 17 states have enacted legislation allowing individuals to bring claims
that would otherwise have been barred by the applicable limitations period. Most of these
jurisdictions (including California, Delaware, Georgia, Hawaii, Minnesota, New Jersey, and
North Carolina) have implemented revival windows that temporarily eliminate the civil statutes
of limitations for victims whose claims have already expired. These revival windows have
allowed older victims of child abuse to bring lawsuits decades after the abuse occurred, including
against private organizations, such as the BSA and Local Councils. Other jurisdictions (including
Vermont) have fully eliminated limitations periods going forward and revived expired claims.



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        The trend of retroactive revisions to limitations periods for sexual abuse claims
accelerated in 2019, when more than a dozen states (including Arizona, California, District of
Columbia, Montana, New Jersey, New York, and North Carolina) revised their limitations
periods to allow victims of abuse to bring claims that would otherwise have been time-barred. As
noted above, most recently, a group of plaintiffs has filed suit in the U.S. District Court in the
District of Columbia alleging that the District’s recent revival-window legislation permits
plaintiffs to bring previously time-barred claims, regardless of where the abuse occurred or
where the plaintiff resides.10 The BSA expects the number of these claims would, but for the
commencement of these Chapter 11 Cases, only have increased in 2020 and beyond.

        These changes in statute of limitations have dramatically altered the legal landscape for
sexual abuse claims. Specifically, the number of suits alleging claims from earlier years that
would otherwise have been barred by the applicable limitations period has surged. These suits
have forced the BSA to look backward—past the decades of progress and leadership in youth
protection—to the mid- to late-twentieth century, when the vast majority of the Abuse in
Scouting occurred. Claims alleging Abuse within the last thirty years make up a small fraction of
total known Abuse claims.11 The vast majority of the claims the BSA is now facing allege child
sexual abuse from the 1940s to the 1980s. Fairly compensating victims that were Abused during
this time frame has placed tremendous financial pressure on the BSA and its local partners.

                  2. Other Defendants

        As discussed above, several organizations work together to deliver the Scouting program,
including Local Councils and Chartered Organizations that are independently incorporated and
chartered by the BSA. Historically, claims against the BSA, Local Councils, and Chartered
Organizations, including the Pending Abuse Actions, generally have been litigated and
administered solely by the BSA. The unique relationship between the BSA and these entities, as
discussed above, has led the BSA to take a leading role in administering such litigation. In
practice, the BSA coordinates with Local Councils and Chartered Organizations to efficiently
respond to and manage such cases, while minimizing the risk of inconsistent treatment of actions
and victims.

         This approach also stems from the fact that the allegations made by plaintiffs in the
Pending Abuse Actions and unfiled claims are substantially directed at the BSA. The resolution
of the Pending Abuse Actions thus requires the BSA to pay careful attention to a wide variety of
litigation matters, including, for example, responses to broad discovery requests, the
overwhelming majority of which are directed at the BSA as opposed to Local Council or
Chartered Organization defendants. Through this approach, the BSA has, among other things,
facilitated the retention of joint defense counsel, responded to the vast majority of discovery
requests, coordinated with insurance carriers, and authorized and funded the payment of any
settlement amounts related to the Pending Abuse Actions or similar, previously resolved, claims.
Given the complexity of the issues involved the Pending Abuse Actions, and the BSA’s central



10
  See Does 1-8 v. Boy Scouts of America, Case No. 20–00017 (D.D.C.)
11
  Of the approximately 1,700 pending or asserted abuse claims against the BSA, approximately 1,500 involve
claims alleging abuse that occurred before 1988.


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role in litigating them, the organization has retained national coordinating counsel to oversee the
handling of claims against it and the Local Councils and Chartered Organizations.

                      3. Insurance

        The BSA has historically procured commercial, general-liability insurance (“CGL”)
policies from multiple insurers to protect itself from a myriad of risks, including claims of sexual
abuse or sexual misconduct. These policies date back to 1962 and over time came to include both
primary and excess insurance coverage that provide substantial limits of liability in many years.
As set forth below, the BSA’s insurance coverage has varied over time with traditional insurance
in some years and fronting policies in other years. Also, while the amount of coverage remains
substantial in many years, the insolvency of certain insurers and the resolution of sexual-abuse
and other claims have either eroded, eliminated, or exhausted the liability limits for certain
policies. In some instances, the availability of certain insurance policies remains contingent upon
the resolution of active pending litigation between the BSA and some of its insurers.
Nonetheless, with respect to most (if not all) policy years, at least some level of coverage under
the CGL policies is available for bodily injury claims, including claims arising out of sexual
abuse and sexual misconduct.

                               a. Overview of the BSA’s Insurance Program

         The type of coverage provided for by the BSA’s insurance program has varied over the
last six decades. Between 1962 and 1982, the BSA acquired insurance policies where each claim
of bodily injury allowed the BSA to access the limits of liability under the applicable insurance
policies.12 These are more commonly referred to as “per-occurrence” policies. Beginning in
1983, the BSA shifted its insurance program to policies that contained overall aggregate limits of
liability. The BSA purchased these types of policies from 1983 to the end of 1985. As a
counterbalance to the imposition of aggregate limits, the BSA’s towers of insurance in 1983
through 1985 included significant limits of liability and excess layers of coverage.

       The BSA substantially altered its insurance program beginning in 1986 and through
2018, procuring primary insurance and excess policies where the deductible matches the policy’s
limit of liability. These policies are more commonly referred to as “fronting” policies. In
addition, beginning in late-1990, the BSA procured significant insurance with limits of liability
exceeding $100 million. In 2019, moreover, the BSA reverted to traditional insurance and
expects to continue with such insurance in 2020.

                               b. The BSA’s Insurance Coverage for the Local Councils and
                                  Chartered Organizations

       For decades, the BSA has undertaken and committed to procuring general liability
insurance coverage for Local Councils and volunteers. Starting around 1971, the BSA began
adding certain Local Councils as additional insureds under its CGL policies. Then, in 1978, the
BSA formalized this practice through the implementation of a General Liability Insurance
Program (“GLIP”), whereby the BSA agreed to procure general liability insurance for all Local
Councils by including them in the definition of “Named Insured” in all of the BSA CGL policies.
12
     For purposes of simplicity, this analysis is limited to the BSA’s primary insurance policies.


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Similarly, starting in 1978, the BSA began to provide insurance coverage under its CGL policies
to certain Chartered Organizations.

                   B. The BSA Engaged in Extensive Efforts to Reach a Global Resolution of
                      Abuse Claims Before the Commencement of these Proceedings.

         In late 2018, the BSA retained legal and financial advisors to explore its restructuring
options in light of, among other factors, the increasing number of Abuse Claims asserted against
the BSA as a result of changes in state statutes of limitation. The BSA determined at the outset of
this strategic review to pursue a potential agreement with a critical mass of Abuse victims and
other relevant stakeholders that could be implemented through a prearranged chapter 11 plan. A
prearranged bankruptcy filing was the most desirable option as it represented the quickest, most
efficient, and least costly bankruptcy process. As a non-profit corporation, considerations of
economy and speed are of the utmost importance to the BSA. A prearranged case would have
avoided an open-ended bankruptcy process that could, without an appropriate sense of urgency,
result in irreparable damage to the BSA’s mission.

        In connection with these strategic efforts, the BSA recognized that it would ultimately
need to structure a settlement around a plan of reorganization that provides for channeling
injunctions with respect to both current and potential future Abuse Claims.13 Accordingly, the
BSA determined, in consultation with its advisors, that it was necessary and appropriate to
engage an independent third-party representative for holders of Future Abuse Claims. After
considering possible candidates for the role, the BSA selected James L. Patton, Jr. in early 2019
to serve as prepetition future claimants’ representative. The BSA selected Mr. Patton due to his
significant experience in complex mass tort cases in the chapter 11 context and his reputation for
integrity in serving as a fiduciary in bankruptcy proceedings. Mr. Patton, in turn, retained legal
and financial advisors to assist him in conducting an analysis of the BSA’s liabilities and assets
and in negotiations with the BSA and other stakeholders.

        The BSA also engaged in discussions with an ad hoc group of attorneys representing
significant numbers of holders of Abuse Claims. The ad hoc group was advised on restructuring
matters by James Stang of Pachulski Stang Ziehl & Jones LLP. The BSA provided information
to these attorneys, including Mr. Stang, regarding its liabilities and assets, and some attorneys for
Abuse victims provided information to the BSA regarding additional Abuse Claims that they
asserted would be filed against the BSA in the future. In particular, the attorneys asserted that
they represented hundreds of Abuse victims who had not yet filed suit.



13
   Unlike a future claim in other mass tort contexts, there is no latency period for abuse. In the abuse context, a
future claim is properly understood as a claim related to abuse that has already occurred but which is held by an
individual who (a) has not attained 18 years of age, (b) suffers from “repressed memory” such that he or she is not
aware that he or she holds an abuse claim, or (c) has not discovered the injury or the connection between the injury
and the abuse and who could not in the exercise of reasonable care have discovered the injury or connection between
the injury and the abuse. Given (i) the significant advertising and publicity surrounding abuse in scouting over the
past year; (ii) the highly publicized nature of this restructuring; and (iii) the robust and comprehensive claims and
noticing procedures that the BSA will implement through these cases, the BSA expects that the vast majority of
potential claimants will be identified as part of the bar date process in these Chapter 11 Cases and does not expect
that there will be significant future claims relating to prior abuse in the BSA’s Scouting programs.


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        In addition, the BSA engaged in discussions with certain of its insurers about the nature
and extent of available coverage for pending and additional Abuse Claims that have not yet been
filed. As noted above, the BSA has procured CGL policies from multiple insurers since 1962 to
protect itself from risks including claims of sexual abuse or sexual misconduct. Local Councils
were subsequently included as “additional insureds” under these policies. As a general matter,
the amount of remaining coverage under these policies is substantial, and the BSA expects that
the proceeds of these policies will comprise a significant portion of the assets contributed to any
victims compensation trust.

         These prepetition restructuring efforts involved several meetings with attorneys
representing Abuse victims, including a two-day mediation in early November 2019 with many
of these attorneys, as well as the prepetition future claimants’ representative and certain of the
BSA’s insurers. The mediation, unfortunately, was unsuccessful. It became apparent that
attorneys for Abuse victims believed that certain Local Councils with significant Abuse
liabilities have significant assets that could be used to compensate victims. Further, it was clear
to the BSA that attorneys for Abuse victims would only accept information about the nature and
extent BSA’s available assets if provided through a court-supervised process. The attorneys for
holders of Abuse Claims have indicated a strong preference for the BSA to file for relief under
chapter 11 so they can compel the production of information regarding the BSA’s and Local
Councils’ liabilities and assets, as well as other data relating to Abuse Claims. Accordingly, the
BSA recognized in late 2019 that there were no meaningful prospects for a global resolution of
Abuse Claims without the commencement of these Chapter 11 Cases.

                C. Given the BSA’s Inability to Reach Agreement on a Prearranged
                   Reorganization, the BSA has Taken Several Immediate Steps to
                   Promote Efficiency at the Outset of these Chapter 11 Cases.

        Beginning after the conclusion of the November 2019 mediation, the BSA and its
advisors turned their attention to preparing for these Chapter 11 Cases. The BSA recognized that
prolonged bankruptcy proceedings would be costly and deplete funds available to compensate
Abuse victims. As a non-profit that relies on member fees and donations to sustain its operations,
delays caused by protracted litigation and discovery, for example, would also negatively impact
these revenue sources and ultimately jeopardize the BSA’s capability to carry out its mission to
serve young men and women, families, and communities. Accordingly, both prior to and
immediately upon the commencement of these Chapter 11 Cases, the BSA took several decisive
steps designed to ensure that these Chapter 11 Cases would proceed expeditiously, in the interest
of safeguarding the future of the BSA’s mission and maximizing the value of the Debtors’
estates for the benefit of Abuse victims and other stakeholders, all as further detailed in the
informational brief filed in these Chapter 11 Cases. See D.I. 4.

                          ARTICLE IV. THE CHAPTER 11 CASES

                A. Voluntary Petitions

        On February 18, 2020, the Debtors commenced the Chapter 11 Cases by filing voluntary
petitions for relief under chapter 11 of the Bankruptcy Code. Concurrently with the filing of this
Disclosure Statement, the Debtors have requested joint administration and procedural


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consolidation of these Chapter 11 cases pursuant to rule 1015(b) of the Federal Rules of
Bankruptcy Procedure. The Debtors have continued, and will continue until the Effective Date,
to operate their organization as debtors-in-possession.

                B. First Day Relief

       On the Petition Date, the Debtors filed a number of “first day” motions and other
pleadings. These were proposed to ensure the Debtors’ orderly transition into chapter 11. The
following table describes a number of the first day motions:

                          Description of Relief Requested                               Docket No.
 Joint administration of the Chapter 11 Cases                                               3
 Utilize the Debtors’ cash collateral and to provide adequate protection to the
                                                                                            5
 Prepetition Secured Parties (as defined therein)
 Pay certain prepetition taxes                                                              6
 Pay prepetition claims of critical vendors, as well as shippers, warehousemen,
                                                                                            7
 and other lienholders
 Maintain and administer the Debtors’ customer, member, and donor programs
                                                                                            8
 and practices and honor related prepetition practices
 Approval of notice procedures                                                              9
 Additional time to file schedules of assets and liabilities, statements of financial
                                                                                           10
 affairs, and Rule 2015.3 Reports
 Employ Omni Agent Solutions as the claims and noticing agent                              11
 Prohibit utilities from discontinuing service and for approval adequate
                                                                                           12
 assurance of payment to utilities
 Continued use of the Debtors’ prepetition cash management system and
                                                                                           13
 maintain their existing business forms
 Pay employee wages and honor employee-related programs                                    14
 Pay certain prepetition obligations under shared services arrangements and to
                                                                                           15
 continue such services

                C. Other Relief Requested on the Petition Date

               1. Scheduling Motion for Asset Characterization Disputes

        Concurrently with the commencement of these cases, the Debtors sought to establish a
schedule for the Bankruptcy Court to hear and adjudicate any disputes regarding whether certain
identified property of the BSA is subject to enforceable restrictions under applicable law and/or
is otherwise unavailable to satisfy creditor claims.

               2. Bar Date Motion

        Concurrently with the commencement of these cases, the Debtors filed a motion to
establish comprehensive procedures for providing notice of the applicable bar dates to the
Debtors’ creditors and for creditors, including holders of Abuse Claims, to file proofs of claim.



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               3. Consolidation and Stay of Pending Abuse Lawsuits

        Concurrently with the commencement of these cases, the Debtors began taking measures
to consolidate and stay all pending abuse litigation against the BSA, Local Councils, and
Chartered Organizations. In particular, the BSA has removed to federal district court all Abuse
Claims pending in state courts throughout the country against the BSA and/or the Local Councils
and Chartered Organizations. The Debtors will also be filing a motion with the District Court to
transfer all of the removed abuse actions to that court under 28 U.S.C. § 157(b)(5). Finally, the
Debtors also are commencing an adversary proceeding seeking a preliminary injunction against
the continued prosecution of Abuse Claims.

               4. Motion for Appointment of a Judicial Mediator

        Concurrently with the commencement of these cases, the Debtors sought the immediate
appointment of a sitting bankruptcy judge as a mediator and the referral to mandatory mediation
of all issues related to a global settlement of Abuse Claims through a consensual plan of
reorganization.

                         ARTICLE V. OVERVIEW OF THE PLAN

                A. Distributions

        One of the key concepts under the Bankruptcy Code is that only claims and interests that
are “allowed” may receive distributions under a chapter 11 plan. This term is used throughout the
Plan and the descriptions below. In general, an Allowed Claim means that the Debtors agree, or
if there is a dispute, the Bankruptcy Court determines, that the Claim, and the amount thereof, is
in fact a valid obligation of the Debtors. A detailed discussion of the treatment and anticipated
means of satisfaction for each Class of Allowed Claims is set forth in Section V.D and Section
V.E of this Disclosure Statement.

                B. Exit Facilities

        On the Effective Date, the Reorganized Debtors shall enter into one or more Exit
Facilities and provide any related guarantees, and such Exit Facilities shall be made available to
the Reorganized Debtors pursuant and subject to the terms and conditions set forth in the Exit
Facility Documents. The Confirmation Order shall constitute approval of the Exit Facilities
(including the transactions contemplated thereby, and all actions to be taken, undertakings to be
made, and obligations to be incurred and fees paid by the Reorganized Debtors in connection
therewith), and authorization for the Reorganized Debtors to enter into and perform under the
Exit Facilities Documents and such other documents as may be required or appropriate.

                C. Sources of Consideration for Plan Distributions

       The Debtors, or the Reorganized Debtors, as applicable, shall fund Plan Distributions
using (1) Cash on hand and (2) the proceeds of the Exit Facilities. Cash on hand refers to the
Debtors’ or the Reorganized Debtors’ Cash that does not constitute Identified Property.




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                   D. Treatment of Unclassified Claims

                  1. Unclassified Claims Summary

                                  Estimated Allowed
              Claim                                              Plan Treatment          Projected Plan Recovery
                                       Amount14
     Administrative Expense       $[__]                       Paid in full in Cash                    100%
     Claims
     Professional Fee Claims      $[__]                       Paid in full in Cash                    100%
     Priority Tax Claims          $[__]                       Paid in full in Cash                    100%

                  2. Unclassified Claims Details

                           a. Administrative Expense Claims

                                      (i)      Administrative Expense Claims Bar Date

        Except as provided for in the Plan or in any order of the Bankruptcy Court, and subject to
section 503(b)(1)(D) of the Bankruptcy Code, holders of General Administrative Expense
Claims must file and serve on the Debtors requests for the payment of such Claims not
previously Allowed by a Final Order in accordance with the procedures specified in the
Confirmation Order, on or before the Administrative Expense Claims Bar Date, or such Claims
shall be automatically Disallowed, forever barred from assertion, and unenforceable against the
Debtors or the Reorganized Debtors, the Estates, or their property without the need for any
objection by the Reorganized Debtors or further notice to, or action, order, or approval of the
Bankruptcy Court, and any such Claims shall be deemed fully satisfied, released, and discharged.

                                      (ii)     Administrative Expense Claims Generally

        Except to the extent that a holder of an Allowed Administrative Expense Claim agrees to
less favorable treatment with respect to such Allowed Administrative Expense Claim, each
holder of an Allowed Administrative Expense Claim shall receive, on account of and in full and
complete settlement, release and discharge of, and in exchange for, such Claim, payment of Cash
in an amount equal to such Allowed Administrative Expense Claim on or as soon as reasonably
practicable after the later of: (a) the Effective Date; (b) the first Business Day after the date that
is thirty (30) calendar days after the date such Administrative Expense Claim becomes an
Allowed Administrative Expense Claim; (c) such other date(s) as such holder and the Debtors or
the Reorganized Debtors shall have agreed; or (d) such other date ordered by the Bankruptcy
Court; provided, however, that Allowed Administrative Expense Claims that arise in the ordinary
course of the Debtors’ operations during the Chapter 11 Cases may be paid by the Debtors or the
Reorganized Debtors in the ordinary course of business and in accordance with the terms and
conditions of the particular agreements governing such obligations, course of dealing, course of
operations, or customary practice.



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  Figures with respect to the Allowed amounts of the Claims set forth in this chart are based upon the Debtors’ best
estimates of such Claims as of the date of this Disclosure Statement.


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                                 (iii)   Professional Fee Claims

        All Professionals or other Persons requesting the final allowance and payment of
compensation and/or reimbursement of expenses pursuant to sections 328, 330, 331 and/or
503(b) for services rendered during the period from the Petition Date to and including the
Effective Date shall file and serve final applications for allowance and payment of Professional
Fee Claims on counsel to the Debtors and the United States Trustee no later than the first
Business Day that is forty-five (45) days after the Effective Date. Objections to any Professional
Fee Claim must be filed and served on the Reorganized Debtors and the applicable Professional
within twenty-one (21) calendar days after the filing of the final fee application that relates to the
Professional Fee Claim (unless otherwise agreed by the Debtors or the Reorganized Debtors, as
applicable, and the Professional requesting allowance and payment of a Professional Fee Claim).

        Allowed Professional Fee Claims shall be paid in full, in Cash, in such amounts as are
Allowed by the Bankruptcy Court on or as soon as reasonably practicable after the later of: (a)
the date upon which an order relating to any such Allowed Professional Fee Claim is entered;
and (b) such other date(s) as the holders of the Allowed Professional Fee Claim and the Debtors
or the Reorganized Debtors, as applicable, shall have agreed.

       The Reorganized Debtors are authorized to pay compensation for services rendered or
reimbursement of expenses incurred by their Professionals after the Effective Date in the
ordinary course and without the need for Bankruptcy Court approval.

                       b. Priority Tax Claims

        Except to the extent that a holder of an Allowed Priority Tax Claim agrees to less
favorable treatment, each holder of an Allowed Priority Tax Claim shall receive on account of
and in full and complete settlement, release and discharge of, and in exchange for, such Allowed
Priority Tax Claim, at the sole option of the Debtors or the Reorganized Debtors, as applicable:
(1) Cash in an amount equal to such Allowed Priority Tax Claim on, or as soon thereafter as is
reasonably practicable, the later of (a) the Effective Date, to the extent such Claim is an Allowed
Priority Tax Claim on the Effective Date; (b) the first Business Day after the date that is thirty
(30) calendar days after the date such Priority Tax Claim becomes an Allowed Priority Tax
Claim; and (c) the date such Allowed Priority Tax Claim is due and payable in the ordinary
course as such obligation becomes due; provided, however, that the Debtors reserve the right to
prepay all or a portion of any such amounts at any time under this option without penalty or
premium; or (2) regular installment payments in Cash of a total value, as of the Effective Date of
the Plan, equal to the Allowed amount of such Claim over a period ending not later than five
years the Petition Date.

                E. Classification of Claims and Interests

               1. Classified Claims and Interests Summary

        The Plan constitutes a separate chapter 11 plan of reorganization for each Debtor. Except
for the Claims addressed in Article II of the Plan, the Debtors have placed all Claims and
Interests into Classes for each of the Debtors. In accordance with section 1123(a)(1) of the



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Bankruptcy Code, the Debtors have not classified Administrative Claims or Priority Tax Claims,
as described in Article II of the Plan.

        The summary of Classes of Claims and Interests set forth below classifies Claims and
Interests for all purposes, including Confirmation and distribution pursuant to the Plan. The Plan
deems a Claim or Interest to be classified in a particular Class only to the extent that the Claim or
Interest qualifies within the description of that Class, and any Claim or Interest shall be deemed
classified in a different Class to the extent that any remainder of such Claim or Interest qualifies
within the description of such different Class. A Claim (other than an Abuse Claim) is in a
particular Class only to the extent that such Claim or Interest is Allowed in that Class and has not
been paid, released, or otherwise settled prior to the Effective Date. All Abuse Claims are
included in Class 6 and all Interests of Delaware BSA, LLC are in Class 7.

       The Plan establishes a comprehensive classification of Claims and Interests. The table
below summarizes the classification, treatment, voting rights, and estimated recoveries of the
Claims and Interests, by Class, under the Plan.

     Class            Claim or         Estimated        Voting Rights               Treatment               Plan
                      Interest          Allowed                                                           Recovery
                                       Amount15
     1       Other Priority Claims $[__]            Not Entitled to Vote / Paid in full /             100%
                                                    Presumed to Accept     Reinstated / Unimpaired
     2       Other Secured Claims $[__]             Not Entitled to Vote / Paid in full / Collateral  100%
                                                    Presumed to Accept     Returned / Reinstated /
                                                                           Unimpaired
     3A      2010 Credit Facility   $[__]           Entitled to Vote       Reinstated with            100%
             Claims                                                        modifications /
                                                                           Impaired
     3B      2019 RCF Claims        $[__]           Entitled to Vote       Reinstated with            100%
                                                                           modifications /
                                                                           Impaired
     4A      2010 Bond Claims       $[__]           Entitled to Vote       Reinstated with            100%
                                                                           modifications /
                                                                           Impaired
     4B      2012 Bond Claims       $[__]           Entitled to Vote       Reinstated with            100%
                                                                           modifications /
                                                                           Impaired
     5       General Unsecured      $[__]           Entitled to Vote       Pro Rata share of GUC Plan [___]%
             Claims                                                        Distribution /
                                                                           Impaired
     6       Abuse Claims           $[__]           Entitled to Vote       Channeled to Victims       [___]%
                                                                           Compensation Trust /
                                                                           Impaired
     7       Interests in Delaware $[__]            Not Entitled to Vote / Reinstated /               100%
             BSA, LLC                               Presumed to Accept Unimpaired



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  Figures with respect to the Allowed amounts of the Claims set forth in this chart are based upon the Debtors’ best
estimates of such Claims as of the date of this Disclosure Statement.


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               2. Classified Claims and Interests Details

        Except to the extent that a Debtor and a Holder of an Allowed Claim or Interest, as
applicable, agree to a less favorable treatment, such Holder shall receive under the Plan the
treatment described below in full and final satisfaction, settlement, release, and discharge of and
in exchange for such Holder’s Allowed Claim or Interest, as applicable. Unless otherwise
indicated, the Holder of an Allowed Claim or Interest, as applicable, shall receive such treatment
on the Effective Date or as soon as reasonably practicable thereafter.

                       a. Class 1—Other Priority Claims

                               (i)    Classification: Class 1 consists of all Other Priority Claims.

                               (ii)   Treatment: Except to the extent that a holder of an Allowed
Other Priority Claim agrees to less favorable treatment of such Claim, in exchange for full and
final satisfaction of such Allowed Other Priority Claim, at the sole option of the Reorganized
Debtors: (i) each such holder shall receive payment in Cash in an amount equal to such Allowed
Other Priority Claim, payable on or as soon as reasonably practicable after the last to occur of (x)
the Effective Date, (y) the date on which such Other Priority Claim becomes an Allowed Other
Priority Claim, and (z) the date on which the holder of such Allowed Other Priority Claim and
the Debtors or Reorganized Debtors, as applicable, shall otherwise agree in writing; or (ii)
satisfaction of such Allowed Other Priority Claim in any other manner that renders the Allowed
Other Priority Claim Unimpaired, including Reinstatement.

                                (iii) Voting: Allowed Other Priority Claims in Class 1 are
Unimpaired. Each holder of an Other Priority Claim shall be conclusively presumed to have
accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore, holders of
Other Priority Claims shall not be entitled to vote to accept or reject the Plan, and the votes of
such holders will not be solicited with respect to Other Priority Claims.

                       b. Class 2—Other Secured Claims

                                 (i)   Classification: Class 2 consists of all Other Secured
Claims. To the extent that Other Secured Claims are Secured by different collateral or different
interests in the same collateral, such Claims shall be treated as separate subclasses of Class 2 for
purposes of voting to accept or reject the Plan and receiving Plan Distributions under the Plan.

                                (ii)  Treatment: Except to the extent that a holder of an Allowed
Other Secured Claim agrees to less favorable treatment of such Claim, in exchange for full and
final satisfaction of such Allowed Other Secured Claim, each holder of an Allowed Other
Secured Claim will receive, at the sole option of the Reorganized Debtors: (i) Cash in an amount
equal to the Allowed amount of such Claim, including the payment of any interest required to be
paid under section 506(b) of the Bankruptcy Code, payable on or as soon as reasonably
practicable after the last to occur of (x) the Effective Date, (y) the date on which such Other
Secured Claim becomes an Allowed Other Secured Claim, and (z) the date on which the holder
of such Allowed Other Secured Claim and the Debtors or Reorganized Debtor, as applicable,


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shall otherwise agree in writing; (ii) satisfaction of such Other Secured Claim in any other
manner that renders the Allowed Other Secured Claim Unimpaired, including Reinstatement; or
(iii) return of the applicable collateral on the Effective Date or as soon as reasonably practicable
thereafter in satisfaction of the Allowed amount of such Other Secured Claim.

                                (iii) Voting: Allowed Other Secured Claims in Class 2 are
Unimpaired. Each holder of an Other Secured Claim shall be conclusively presumed to have
accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore, holders of
Other Secured Claims shall not be entitled to vote to accept or reject the Plan, and the votes of
such holders will not be solicited with respect to Other Secured Claims.

                       c. Class 3A—2010 Credit Facility Claims

                               (i)    Classification: Class 3A consists of all 2010 Credit Facility
Claims.

                              (ii)   Allowance: On the Effective Date, all 2010 Credit Facility
Claims shall be Allowed pursuant to section 506(a) of the Bankruptcy Code in the principal
amount of $[__] and not subject to any counterclaim, defense, offset, or reduction of any kind.
Because all 2010 Credit Facility Claims are deemed fully Secured, there are no unsecured 2010
Credit Facility Claims, and the holders of such Claims do not have or hold any Class 5 Claims
against the Debtors on account of any 2010 Credit Facility Claim.

                                (iii) Treatment: Except to the extent that a holder of an Allowed
2010 Credit Facility Claim agrees to less favorable treatment of such Claim, in full and final
satisfaction, settlement, release, and discharge of, and in exchange for an Allowed 2010 Credit
Facility Claim, the Reorganized Debtors shall enter into, execute and deliver the Restated 2010
Credit Facility Documents.

Voting: Allowed 2010 Credit Facility Claims in Class 3A are Impaired. Each holder of a 2010
Credit Facility Claim shall be entitled to vote to accept or reject the Plan.

                       d. Class 3B—2019 RCF Claims

                                (i)   Classification: Class 3B consists of all 2019 RCF Claims.

                              (ii)  Allowance: On the Effective Date, all 2019 RCF Claims
shall be Allowed pursuant to section 506(a) of the Bankruptcy Code in the principal amount of
$[__] and not subject to any counterclaim, defense, offset or reduction of any kind. Because all
2019 RCF Claims are deemed fully Secured, there are no unsecured 2019 RCF Claims, and the
holders of such Claims do not have or hold any Class 5 Claims against the Debtors on account of
any 2019 RCF Claim.

                              (iii) Treatment: Except to the extent that a holder of an Allowed
2019 RCF Claim agrees to less favorable treatment of such Claim, in full and final satisfaction,
settlement, release, and discharge of, and in exchange for an Allowed 2019 RCF Claim, the
Reorganized Debtors shall enter into, execute and deliver the Restated RCF Documents.



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 Voting: Allowed 2019 RCF Claims in Class 3B are Impaired. Each holder of a 2019 RCF Claim
shall be entitled to vote to accept or reject the Plan.

                      e. Class 4A—2010 Bond Claims

                               (i)    Classification: Class 4A consists of all 2010 Bond Claims.

                              (ii)   Allowance: On the Effective Date, all 2010 Bond Claims
shall be deemed fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy Code in
the principal amount of $[__] and not subject to any counterclaim, defense, offset, or reduction
of any kind. Because all 2010 Bond Claims are deemed fully Secured, there are no unsecured
2010 Bond Claims, and the holders of such Claims do not have or hold any Class 5 Claims
against the Debtors on account of any 2010 Bond Claim.

                               (iii) Treatment: Except to the extent that a holder of an Allowed
2010 Bond Claim agrees to less favorable treatment of such Claim, in full and final satisfaction,
settlement, release, and discharge of, and in exchange for an Allowed 2010 Bond Claim, the
Reorganized Debtors shall enter into, execute and deliver the Restated 2010 Bond Documents.

                              (iv) Voting: Allowed 2010 Bond Claims in Class 4A are
Impaired. Each holder of a 2010 Bond Claim shall be entitled to vote to accept or reject the Plan.

                      f. Class 4B—2012 Bond Claims.

                                (i)   Classification: Class 4B consists of all 2012 Bond Claims.

                               (ii) Allowance: On the Effective Date, all 2012 Bond Claims
shall be deemed fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy Code in
the principal amount of $[__] and not subject to any counterclaim, defense, offset, or reduction
of any kind. Because all 2012 Bond Claims are deemed fully Secured, there are no unsecured
2012 Bond Claims, and the holders of such Claims do not have or hold any Class 5 Claims
against the Debtors on account of any 2012 Bond Claim.

                               (iii) Treatment: Except to the extent that a holder of an Allowed
2012 Bond Claim agrees to less favorable treatment of such Claim, in full and final satisfaction,
settlement, release, and discharge of, and in exchange for an Allowed 2012 Bond Claim, the
Reorganized Debtors shall enter into, execute and deliver the Restated 2012 Bond Documents.

                               (iv) Voting: Allowed 2012 Bond Claims in Class 4B are
Impaired. Each holder of a 2012 Bond Claim is entitled to vote to accept or reject the Plan.

                      g. Class 5—General Unsecured Claims

                               (i)    Classification: Class 5 consists of all General Unsecured
Claims.

                            (ii)   Treatment: Except to the extent that a holder of an Allowed
General Unsecured Claim agrees to less favorable treatment of such Claim, in exchange for full


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and final satisfaction, settlement, release, and discharge of, and in exchange for, each Allowed
General Unsecured Claim, each holder thereof shall receive such holder’s Pro Rata share of the
GUC Plan Distribution.

                            (iii) Voting: Allowed General Unsecured Claims in Class 5 are
Impaired. Each holder of a General Unsecured Claim is entitled to vote to accept or reject the
Plan.

                      h. Class 6—Abuse Claims

                               (i)    Classification: Class 6 consists of all Abuse Claims.

                                (ii)   Treatment: As of the Effective Date, liability for all Abuse
Claims shall be assumed in full by the Victims Compensation Trust without further act, deed, or
court order and shall be satisfied solely from the Victims Compensation Trust as set forth in the
Trust Documents. Pursuant to the Channeling Injunction, set forth in Article IV of the Plan, each
holder of an Abuse Claim shall have his or her Abuse Claim permanently channeled to the
Victims Compensation Trust, and such Abuse Claim shall thereafter be asserted exclusively
against the Victims Compensation Trust and resolved in accordance with the terms, provisions,
and procedures of the Trust Documents. Holders of Abuse Claims are enjoined from prosecuting
any outstanding, or filing any future, litigation, Claims, or Causes of Action arising out of or
related to such Abuse Claims against any of the Protected Parties and may not proceed in any
manner against any such Persons in any forum whatsoever, including any state, federal, or non-
U.S. court or any administrative or arbitral forum, and are required to pursue their Abuse Claims
solely against the Victims Compensation Trust as provided in the Trust Documents.

HOLDERS OF ABUSE CLAIMS (OTHER THAN FUTURE ABUSE CLAIMS) SHALL
BE REQUIRED TO SUBMIT A PROOF OF CLAIM ON OR BEFORE THE ABUSE
CLAIMS BAR DATE IN ACCORDANCE WITH THE BAR DATE ORDER. HOLDERS
OF ABUSE CLAIMS MAY BE REQUIRED TO SUBMIT ADDITIONAL
DOCUMENTATION REGARDING SUCH CLAIMS IN ACCORDANCE WITH THE
TRUST DOCUMENTS.

                              (iii) Voting: Abuse Claims in Class 6 are Impaired. Each holder
of an Abuse Claim shall be entitled to vote to accept or reject the Plan.

                      i. Class 7 Interests in Delaware BSA, LLC

                               (i)    Classification: Class 7 consists of all Interests in Delaware
BSA, LLC.

                              (ii) Treatment: On the Effective Date, Interests in Delaware
BSA, LLC shall be Reinstated, and the legal, equitable, and contractual rights to which holders
of Interests in Delaware BSA, LLC are entitled shall remain unaltered to the extent necessary to
implement the Plan.

                            (iii) Voting: Interests in Delaware BSA, LLC in Class 7 are
Unimpaired. Each holder of an Interest in Delaware BSA, LLC shall be conclusively presumed


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to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore, holders
of Interests in Delaware BSA, LLC shall not be entitled to vote to accept or reject the Plan, and
the votes of such holders will not be solicited with respect to Interests in Delaware BSA, LLC.

               3. Elimination of Vacant Classes

       Any Class of Claims against or Interests in the Debtors that, as of the commencement of
the Confirmation Hearing, does not have at least one holder of a Claim or Interest that is
Allowed in an amount greater than zero for voting purposes shall be considered vacant, deemed
eliminated from the Plan for purposes of voting to accept or reject the Plan, and disregarded for
purposes of determining whether the Plan satisfies section 1129(a)(8) of the Bankruptcy Code
with respect to that Class. For the avoidance of doubt, this section shall not apply to Class 6 or
Class 7.

                F. The Victims Compensation Trust

               1. Establishment and Purpose of the Victims Compensation Trust

       The Victims Compensation Trust shall be established on the Effective Date. The Victims
Compensation Trust shall be administered and implemented by the Victims Compensation
Trustee as provided in the Trust Documents. Specifically, the Victims Compensation Trust shall,
without limitation: (1) assume liability for all Abuse Claims; and (2) hold and administer the
Trust Assets, liquidate the Abuse Claims, and make Trust Distributions to holders of Abuse
Claims from the Trust Assets.

        The Victims Compensation Trust shall, as applicable, administer, process, settle, resolve,
liquidate, satisfy, and make Trust Distributions from the Trust Assets on account of Abuse
Claims in such a way that the holders of Abuse Claims are treated equitably and in a
substantially similar manner, subject to the applicable terms of the Plan Documents and the Trust
Documents. From and after the Effective Date, the Abuse Claims shall be channeled to the
Victims Compensation Trust pursuant to the Channeling Injunction set forth in Article IV of the
Plan and may be asserted only and exclusively against the Victims Compensation Trust.

               2. Receipt of Trust Assets

        On the Effective Date, all Trust Assets shall be automatically and without further act or
deed, transferred to, vested in and assumed by the Victims Compensation Trust; provided,
however, that to the extent that certain Trust Assets, because of their nature or because such
assets will accrue or become transferable to the Victims Compensation Trust subsequent to the
Effective Date, cannot be transferred to, vested in and assumed by the Victims Compensation
Trust on the Effective Date, such Trust Assets shall be automatically, and without further act or
deed, transferred to, vested in and assumed by the Victims Compensation Trust as soon as
practicable after the Effective Date. Notwithstanding anything in the Plan to the contrary, no
monies, causes of action, and/or assets comprising the Trust Assets that have been transferred,
granted, assigned, or otherwise delivered to the Victims Compensation Trust shall be used for
any purpose other than in accordance with the Plan and the Trust Documents, including the
payment or administration of Abuse Claims as set forth in the Trust Documents. Any applicable



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Insurance Proceeds recovered or received by the Victims Compensation Trust will be allocated
as set forth in the Trust Documents.

               3. The Trust Distribution Procedures

        On the Effective Date, the Victims Compensation Trust shall implement the Trust
Distribution Procedures in accordance with the terms of the Trust Agreement. From and after the
Effective Date, the Victims Compensation Trustee shall have the authority to administer, amend,
supplement, or modify the Trust Distribution Procedures in accordance with the terms thereof
and the Trust Agreement. From and after the Effective Date, the Victims Compensation Trust
shall liquidate and make Trust Distributions to holders of Abuse Claims in accordance with the
Trust Documents.

               4. Discharge of Liabilities to Holders of Abuse Claims

        Except as provided in the Plan, the transfer to, vesting in and assumption by the Victims
Compensation Trust of the Trust Assets as contemplated by the Plan shall, as of the Effective
Date, discharge all obligations and liabilities of and bar any recovery or action against the
Protected Parties for or in respect of all Abuse Claims, including all Indirect Abuse Claims (and
the Confirmation Order shall provide for such discharge). The Victims Compensation Trust
shall, as of the Effective Date, assume sole and exclusive responsibility and liability for all
Abuse Claims and such Claims shall be paid by the Victims Compensation Trust from the Trust
Assets or as otherwise directed in the Trust Documents.

               5. Imposition of Channeling Injunction

        From and after the Effective Date, all Abuse Claims shall be subject to the Channeling
Injunction pursuant to section 105(a) of the Bankruptcy Code and the provisions of the Plan and
the Confirmation Order. From and after the Effective Date, the Protected Parties shall not have
any obligation with respect to any liability of any nature or description arising out of, relating to,
or in connection with any Abuse Claims.

               6. Insurance Rights Transfer

       In furtherance of the purpose of the Victims Compensation Trust:

                         a.    as of the Effective Date, the Protected Parties shall irrevocably
transfer, grant, and assign to the Victims Compensation Trust, and the Victims Compensation
Trust shall receive and accept, any and all of the Insurance Rights. To the extent any Insurer
consented to a prepetition settlement agreement with respect to an Abuse Claim or otherwise has
consented to pay an Abuse Claim on behalf of one or more of the Protected Parties, then the
applicable Protected Parties shall transfer and assign to the Victims Compensation Trust the right
to enforce such Insurer’s obligation. This Insurance Rights Transfer is made to the Victims
Compensation Trust for the benefit of Persons that have a Claim for compensation for damages
against the Protected Parties on account of Abuse Claims;

                      b.   the Insurance Rights Transfer is made free and clear of all Claims,
Liens, Encumbrances, or Causes of Action of any nature whatsoever, except available limits of


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liability for coverage of certain types of claims under one or more of the Insurance Policies that
may have been reduced by certain prepetition payments made by an Insurer under any of the
Insurance Policies;

                         c.    the Victims Compensation Trust shall be solely responsible for
satsifying, to the extent required under applicable law, any premiums, deductibles, self-insured
retentions, and fronting obligations arising in any way out of any and all Abuse Claims;

                        d.    the Victims Compensation Trust shall comply with any notice
obligations required under the Insurance Policies and applicable law;

                        e.    the Insurance Rights Transfer is made to the maximum extent
possible under applicable law;

                        f.    the Insurance Rights Transfer is absolute and does not require any
further action by the Protected Parties, the Victims Compensation Trust, the Bankruptcy Court,
or any other Person;

                         g.   the Insurance Rights Transfer is not an assignment of any
insurance policy itself and shall be valid and enforceable in accordance with the terms of any
Insurance Policy, in each case notwithstanding any anti-assignment provision in or incorporated
into any Insurance Policy; and

                          h.    the Insurance Rights Transfer shall be governed by, and construed
in accordance with, the Bankruptcy Code and the laws of the state of Delaware, without regard to
its conflict of law principles.

        For the avoidance of doubt, the Insurance Rights Transfer that is the subject of Section
IV.F of the Plan shall not, and shall not be deemed to, transfer, grant, or assign to the Victims
Compensation Trust any insurance rights of the Debtors or the Local Councils that pertain to any
Insured Non-Abuse Claims. Nor shall the Insurance Rights Transfer violate or be deemed to
violate any cooperation clause of any Insurance Policy. The insurance rights of the Debtors or
the Local Councils that pertain to Insured Non-Abuse Claims are expressly reserved for the
Debtors, the Reorganized Debtors, or the Local Councils, as applicable, and the Plan Documents
shall not, and shall not be deemed to, transfer, grant, or assign such rights to the Victims
Compensation Trust. Moreover, for the avoidance of doubt, the insurance rights of any Person
that is not a Protected Party are expressly reserved for such Person (including any rights of any
director, manager, officer, or employee of the Debtors or any Local Council under the D&O
Liability Insurance Policies), and the Plan Documents shall not, and shall not be deemed to,
transfer, grant, or assign such rights to the Victims Compensation Trust.

        In that regard and notwithstanding the transfer of Insurance Rights pursuant Section IV.F
of the Plan, with respect to any Insurance Policy with an inception date of January 1, 2000 to the
present, the Debtors and the Reorganized Debtors expressly reserve the right to (1) tender any
Insured Non-Abuse Claims to those Insurance Policies and (2) access the limits of liability of
those Insurance Policies to settle or otherwise resolve Insured Non-Abuse Claims. Further, the
Victims Compensation Trust cannot settle, compromise, or otherwise resolve any rights, duties,
or obligations under those Insurance Policies issued after January 1, 2000 without the express


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written consent and approval of the Debtors or the Reorganized Debtors, as applicable.
Nonetheless, the Victims Compensation Trust shall have the same rights as the Debtors and the
Reorganized Debtors with respect to any Insurance Policy with an inception date of January 1,
2000 to the present insofar as the Victims Compensation Trust may: (a) tender Abuse Claims to
those Insurance Policies; and (b) access the limits of liability of those Insurance Policies to pay
Abuse Claims pursuant to the Trust Distribution Procedures.

        Moreover, for the avoidance of doubt, the insurance rights of any Person that is not a
Protected Party are expressly reserved for such Person, and the Plan Documents shall not, and
shall not be deemed to, transfer, grant, or assign such rights to the Victims Compensation Trust.

               7. Indemnification Obligation

        If for any reason an Abuse Claim is asserted against a Protected Party on or after the
Effective Date in violation of the Channeling Injunction, the Victims Compensation Trust shall
indemnify and hold each of the Protected Parties harmless from and against any and all Abuse
Claims, as well as indemnify and reimburse such parties for all associated fees, costs and
expenses, to the extent set forth in the Trust Documents.

     In connection with the indemnification that must be provided by the Victims
Compensation Trust, each Protected Party has the express right to:

                       a. appoint defense counsel of its choosing, subject to consent by the
Victims Compensation Trust regarding the hourly rates to be charged, such consent not to be
unreasonably withheld;

                          b. manage the defense of any such Claim subject to appropriate
updates being provided to the Victims Compensation Trust, but the Victims Compensation Trust
shall not control the defense of the Protected Party to any such Claim;

                          c.   settle or otherwise resolve any Claim that is subject to
indemnification by the Victims Compensation Trust, provided that notice of any such settlement
or resolution is provided to the Victims Compensation Trust, but the Victims Compensation
Trust is not required to consent to any such settlement or resolution; and

                        d. proceed to trial and verdict with respect to any Claim that is
subject to indemnification by the Victims Compensation Trust, subject to the consent and
approval by the Victims Compensation Trust to proceed to trial and verdict.

               8. Excess Assets in Victims Compensation Trust

        On the Trust Termination Date, after the payment of all Abuse Claims that are entitled to
a Trust Distribution from the Victims Compensation Trust and all Trust Expenses that have been
provided for, and the liquidation of all assets then held by the Victims Compensation Trust, any
remaining value in the Victims Compensation Trust shall be distributed to a charity to be
selected jointly by the Victims Compensation Trustee and the Reorganized Debtors.




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               9. Trust Expenses

        The Victims Compensation Trust shall pay all Trust Expenses from the Victims
Compensation Trust, as provided for in the Trust Agreement. The Protected Parties shall have no
obligation to pay any Trust Expenses.

               10. Victims Compensation Trustee

         There shall be one Victims Compensation Trustee. On the Confirmation Date, the
Bankruptcy Court shall appoint the Victims Compensation Trustee to serve in accordance with,
and who shall have the functions and rights provided in, the Trust Agreement. Any successor
Victims Compensation Trustee shall be appointed in accordance with the terms of the Trust
Agreement. For purposes of any Victims Compensation Trustee performing his or her duties and
fulfilling his or her obligations under the Victims Compensation Trust and the Plan, the Victims
Compensation Trust and the Victims Compensation Trustee shall be deemed to be “parties in
interest” within the meaning of section 1109(b) of the Bankruptcy Code. The Victims
Compensation Trustee shall be the “administrator” of the Victims Compensation Trust as such
term is used in Treas. Reg. Section 1.468B-2(k)(3).

               11. Compensation of Victims Compensation Trustee and Retention of
                   Professionals

       The Victims Compensation Trustee shall be entitled to compensation as provided for in
the Trust Agreement. The Victims Compensation Trustee may retain and reasonably
compensate, without Bankruptcy Court approval, counsel and other professionals as reasonably
necessary to assist in his or her duties as Victims Compensation Trustee, subject to the terms of
the Trust Agreement. All fees and expenses incurred in connection with the foregoing shall be
payable from the Victims Compensation Trust as provided for in the Trust Agreement.

               12. Future Claimants’ Representative

        The Trust Agreement shall provide for the continuation of the Future Claimants’
Representative to serve as an advisor to the Victims Compensation Trust representing the
interests of holders of Future Abuse Claims. The Future Claimants’ Representative shall have the
functions and rights set forth in the Trust Agreement. The Victims Compensation Trustee shall
consult with the Future Claimants’ Representative on matters pertaining to the administration of
the Victims Compensation Trust and must obtain the consent of the Future Claimants’
Representative as set forth in the Trust Agreement and the Trust Distribution Procedures. The
Victims Compensation Trustee shall meet with the Future Claimants’ Representative no less
frequently than quarterly. The Future Claimants’ Representative shall receive reasonable
compensation for his services from the Victims Compensation Trust and may utilize counsel and
other professionals as reasonably necessary to assist in the performance of his or her duties, and
the Future Claimants’ Representative and his professionals shall be entitled to reasonable
reimbursement of expenses by the Victims Compensation Trust, subject to compliance with an
agreed-upon budget that shall be set forth in the Trust Agreement.




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               13. Consent Rights of the Debtors and the Reorganized Debtors

        The Trust Documents may not be amended or modified without the consent of the
Debtors or the Reorganized Debtors, as applicable, which shall not be unreasonably withheld.
The Debtors shall also have consent rights with respect to any successor Victims Compensation
Trustee and Trust Advisory Committee members, which consent shall not be unreasonably
withheld. Notwithstanding any of the foregoing, the Indemnification Obligations of the Victims
Compensation Trust described in Section IV.G of the Plan may not be amended or modified
without the consent of the Protected Party that is otherwise entitled to indemnification pursuant
to those provisions.

               14. Cooperation; Transfer of Books and Records

        As provided in Section IV.P of the Plan, on the Effective Date or as soon as reasonably
practicable thereafter, the Debtors and the other Protected Parties shall transfer and assign, or
cause to be transferred and assigned, to the Victims Compensation Trustee (1) copies of all of
their books and records that pertain to Abuse Claims, including all ineligible volunteer files to
the extent authorized and directed by the Court pursuant to the Confirmation Order, (2) copies of
all Insurance Policies, (3) information relating to Abuse Claims previously noticed, tendered, or
submitted under the Insurance Policies or paid by any Insurer so long as such information is
presently stored and readily accessible on the Protected Parties’ then-current electronic record-
management systems, and (4) any other information reasonably necessary to operate the Victims
Compensation Trust and preserve, secure, or obtain the benefit of the Insurance Rights. If at any
time after the Effective Date, any of the Reorganized Debtors or the other Protected Parties
discover the existence of an Insurance Policy that provides or may provide coverage for Abuse
Claims, the Person discovering such policy or evidence of the existence of such policy shall
promptly inform the Victims Compensation Trustee.

               15. No Liability

         Neither the Protected Parties nor the Local Council Committee shall have or incur any
liability to, or be subject to any right of action by, any Person for any act, omission, transaction,
event, or other circumstance in connection with or related to the Future Claimants’
Representative, the Victims Compensation Trust, the Victims Compensation Trustee, or the
Trust Documents, including the administration of Abuse Claims and the distribution of property
by the Victims Compensation Trust, or any other related agreement, or upon any other act or
omission, transaction, agreement, event, or other occurrence related or relating to the foregoing.

               16. U.S. Federal Income Tax Treatment of the Victims Compensation Trust

       The Victims Compensation Trust shall be a “qualified settlement fund” within the
meaning of Treasury Regulation section 1.468B-1. The Victims Compensation Trust shall file
(or cause to be filed) statements, returns, or disclosures relating to the Victims Compensation
Trust that are required by any governmental unit. The Victims Compensation Trustee shall be
responsible for the payment of any taxes imposed on the Victims Compensation Trust or the
Trust Assets, including estimated and annual U.S. federal income taxes in accordance with the
terms of the Trust Agreement. The Victims Compensation Trustee may request an expedited



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determination of taxes on the Victims Compensation Trust under section 505(b) of the
Bankruptcy Code for all returns filed for, or on behalf of, the Victims Compensation Trust for all
taxable periods through the dissolution of the Victims Compensation Trust.

               17. Institution and Maintenance of Legal and Other Proceedings

         As of the Effective Date, the Victims Compensation Trust shall be empowered to initiate,
prosecute, defend, and resolve all legal actions and other proceedings related to any asset,
liability, or responsibility of the Victims Compensation Trust. The Victims Compensation Trust
shall be empowered to initiate, prosecute, defend, and resolve all such actions in the name of the
Debtors if deemed necessary or appropriate by the Victims Compensation Trustee. The Victims
Compensation Trust shall be responsible for the payment of all damages, awards, judgments,
settlements, expenses, costs, fees, and other charges incurred subsequent to the Effective Date
arising from, relating to, or associated with any legal action or other proceeding brought pursuant
to Section IV.R of the Plan and shall pay or reimburse all deductibles, retrospective premium
adjustments, fronting obligations, or other charges which may arise from the receipt of the
Insurance Proceeds by the Victims Compensation Trust. For the avoidance of doubt, the Victims
Compensation Trust, pursuant to section 1123(b)(3)(B) of the Bankruptcy Code and applicable
State corporate law, is appointed as the successor-in-interest to, and representative, of the
Debtors and their Estates for the retention, enforcement, settlement, or adjustment of all Abuse
Claims.

               18. Insurance Neutrality

        As provided in Section IV.S of the Plan, nothing contained in any Plan Documents shall
in any way operate to, or have the effect of, impairing, altering, supplementing, changing,
expanding, decreasing, or modifying (1) the rights or obligations of any of any Insurer arising
out of or under any Insurance Policy or (2) any rights or obligations of the Debtors arising out of
or under any Insurance Policy.

                G. Due Authorization

       Upon the Effective Date, all actions contemplated by the Plan shall be deemed
authorized, approved, and, to the extent taken prior to the Effective Date, ratified in all respects
without any requirement of further action by members, creditors, directors, or managers of the
Debtors, the Reorganized Debtors, or any other Person.

                H. Continued Legal Existence

        Except as otherwise provided in the Plan, each of the Debtors shall continue to exist on
and after the Effective Date as a separate Person, with all of the powers of such Person under
applicable law in the jurisdiction in which each Debtor is organized, incorporated, or otherwise
formed and pursuant to such Debtor’s formation, organizational and governance documents in
effect immediately prior to the Effective Date, without prejudice to any right of the Reorganized
Debtors to terminate such existence (whether by merger or otherwise) under applicable law after
the Effective Date.




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                I. Vesting of Assets in the Reorganized Debtors

       In accordance with Section V.I of the Plan, and except as explicitly provided in the Plan,
on the Effective Date, all property comprising the Estates, other than the BSA Trust
Contributions, shall vest in each respective Reorganized Debtor free and clear of all Liens,
Claims, interests, charges, other Encumbrances and liabilities of any kind unless expressly
provided by the Plan or the Confirmation Order. On and after the Effective Date, each
Reorganized Debtor may continue is operations and may use, acquire, or dispose of property,
and compromise or settle any Claims, Interests, or Causes of Action without supervision or
approval of the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or the
Bankruptcy Rules.

                J. Cancellation of Indebtedness

       Except as otherwise provided in the Plan, or in any contract, instrument, release or other
agreement or document entered into or delivered in connection with the Plan, on the Effective
Date, all agreements, instruments, and other documents evidencing or issued pursuant to the
2010 Credit Facility Documents, the 2010 Bond Documents, the 2012 Bond Documents, or any
indebtedness or other obligations thereunder, and any rights of any holder in respect thereof,
shall be deemed cancelled, discharged, and of no force or effect, and the obligations of the
Debtors thereunder shall be deemed fully satisfied, released, and discharged.

                K. Preservation of Causes of Action

        In accordance with section 1123(b)(3) of the Bankruptcy Code, subject to Section V.N]
of the Plan, all Causes of Action that a Debtor may hold against any Person shall vest in the
applicable Reorganized Debtor on the Effective Date. Thereafter, subject to Section V.N of the
Plan, the Reorganized Debtors shall have the exclusive right, authority, and discretion to
determine and to initiate, file, prosecute, enforce, abandon, settle, compromise, release,
withdraw, or litigate to judgment any such Causes of Action, whether arising before or after the
Petition Date, and to decline to do any of the foregoing without the consent or approval of any
third party or further notice to or action, order, or approval of the Bankruptcy Court. No Person
may rely on the absence of a specific reference in the Plan or this Disclosure Statement to
any specific Cause of Action as any indication that the Debtors or Reorganized Debtors, as
applicable, will not pursue any and all available Causes of Action. The Debtors or
Reorganized Debtors, as applicable, expressly reserve all rights to prosecute any and all
Causes of Action against any Person, except as otherwise expressly provided in the Plan,
and, therefore, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel,
issue preclusion, claim preclusion, estoppel (judicial, equitable or otherwise) or laches, shall
apply to any Cause of Action upon, after, or as a consequence of the Confirmation or the
occurrence of the Effective Date.

                L. Workers’ Compensation Programs

        As of the Effective Date, the Debtors and the Reorganized Debtors shall continue to
honor their obligations under: (a) all applicable workers’ compensation laws in all applicable
states; and (b) the Workers’ Compensation Program. All Proofs of Claims on account of the



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Workers’ Compensation Program shall be deemed withdrawn automatically and without any
further notice to or action, order, or approval of the Bankruptcy Court; provided, however, that
nothing in the Plan shall limit, diminish, or otherwise alter the Debtors’ or Reorganized Debtors’
defenses, Causes of Action, or other rights under applicable non-bankruptcy law with respect to
the Workers’ Compensation Programs; provided further, however, that nothing in the Plan shall
be deemed to impose any obligations on the Debtors or their insurers in addition to what is
provided for under the terms of the Workers’ Compensation Programs and applicable state law.

                M. Local Council Charters

        All charters granted to Local Councils before the Petition Date and not since revoked
shall be deemed to be, and shall be treated as though they are, Executory Contracts under the
Plan and deemed assumed under sections 365 and 1123 of the Bankruptcy Code.

                N. Treatment of Executory Contracts and Unexpired Leases

               1. Assumption of Executory Contracts and Unexpired Leases

        As set forth in Section VI of the Plan, on the Effective Date, all Executory Contracts and
Unexpired Leases shall be deemed assumed by the applicable Reorganized Debtor as of the
Effective Date without the need for any further notice to or action, order, or approval of the
Bankruptcy Court under sections 365 and 1123 of the Bankruptcy Code, except for Executory
Contracts or Unexpired Leases that:

                       a.      are identified on the Rejected Contracts Schedule;

                       b.      previously expired or terminated pursuant to their terms;

                       c.      the Debtors have previously assumed or rejected pursuant to a
                               Final Order of the Bankruptcy Court;

                       d.      are the subject of a motion to reject that remains pending as of the
                               Confirmation Date; or

                       e.      as to which the effective date of rejection will occur (or is
                               requested by the Debtors to occur) after the Confirmation Date

        Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court
approving the assumption or rejection, as applicable, of Executory Contracts or Unexpired
Leases as set forth in the Plan or the Rejected Contracts Schedule, pursuant to sections 365 and
1123 of the Bankruptcy Code. Except as otherwise set forth in the Plan, the assumption or
rejection of Executory Contracts and Unexpired Leases pursuant to the Plan shall be effective as
of the Effective Date. Each Executory Contract or Unexpired Lease assumed pursuant to the Plan
or a Final Order of the Bankruptcy Court shall re-vest in and be fully enforceable by the
applicable contracting Reorganized Debtor in accordance with its terms, except as such terms
may have been modified by the provisions of the Plan or any Final Order of the Bankruptcy
Court authorizing and providing for its assumption. Any motions to assume Executory Contracts
or Unexpired Leases pending on the Confirmation Date shall be subject to approval by a Final


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Order on or after the Confirmation Date but may be withdrawn, settled, or otherwise prosecuted
by the Reorganized Debtors

        The Debtors’ assumption of any Executory Contract or Unexpired Lease pursuant to the
Plan or otherwise and payment of the applicable Cure Amount shall result in the full release and
satisfaction of any Claims or defaults, whether monetary or nonmonetary, including defaults of
provisions restricting the change in control or ownership interest composition or other
bankruptcy-related defaults, arising under any assumed Executory Contract or Unexpired Lease
at any time prior to the effective date of assumption. Any and all Proofs of Claim based upon
Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11 Cases,
including pursuant to the Confirmation Order, shall be deemed Disallowed and expunged
as of the later of (1) the date of entry of an order of the Bankruptcy Court (including the
Confirmation Order) approving such assumption, (2) the effective date of such assumption
or (3) the Effective Date, in each case without the need for any objection by the Debtors or
the Reorganized Debtors or any further notice to or action, order, or approval of the
Bankruptcy Court.

               2. Rejection Damages Claims

       Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim
for Rejection Damages Claims, if any, must be filed within thirty (30) days after the later of (1)
the date of entry of an order of the Bankruptcy Court (including the Confirmation Order)
approving such rejection, (2) the effective date of such rejection, or (3) the Effective Date. Any
Rejection Damages Claim that is not timely filed shall be automatically Disallowed, forever
barred from assertion, and unenforceable against the Debtors or the Reorganized Debtors,
the Estates, or their property without the need for any objection by the Reorganized
Debtors or further notice to, or action, order, or approval of the Bankruptcy Court, and
any such Rejection Damages Claim shall be deemed fully satisfied, released, and
discharged, notwithstanding anything in the Proof of Claim to the contrary. All Allowed
Rejection Damages Claims shall be classified as Allowed General Unsecured Claims and treated
in accordance with Section III.B.7 of the Plan.

                O. Provisions for Resolving Disputed Claims

               1. Objections to Claims

        The Reorganized Debtors shall exclusively be entitled to object to all Administrative
Expense Claims, Priority Tax Claims, Other Priority Claims, Other Secured Claims, and General
Unsecured Claims. The Victims Compensation Trustee shall exclusively be entitled to administer
and resolve Abuse Claims in accordance with the Trust Agreement and the Trust Distribution
Procedures. After the Effective Date, the Reorganized Debtors shall have and retain any and all
rights and defenses that the Debtors had with respect to any Claim to which they may object,
except with respect to any Claim that is Allowed. The Reorganized Debtors shall serve and file
any objection to a Proof of Claim on or before the Claims Objection Deadline; provided,
however, that the Victims Compensation Trustee shall administer the Abuse Claims on a
timeline determined by the Victims Compensation Trustee, in consultation with the Future
Claimants’ Representative and the Trust Advisory Committee, subject to approval by the


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Bankruptcy Court. The expiration of the Claims Objection Deadline shall not limit or affect the
Debtors or Reorganized Debtors’ rights to dispute Claims asserted in the ordinary course of
business other than through a Proof of Claim.

               2. Resolution of Disputed Administrative Expenses and Disputed Non-Abuse
                  Claims

        On and after the Effective Date, the Reorganized Debtors shall have the authority to
prosecute and withdraw objections to, compromise, settle, or otherwise resolve Administrative
Expense Claims (other than with respect to Professional Fee Claims), Priority Tax Claims, Other
Priority Claims, and General Unsecured Claims without approval of the Bankruptcy Court. For
the avoidance of doubt, only the Victims Compensation Trustee shall have the authority to
administer and resolve Abuse Claims in accordance with the Trust Agreement and the Trust
Distribution Procedures.

               3. Resolution of Abuse Claims

        Abuse Claims shall be resolved in accordance with the Trust Documents, subject to the
provisions of Article IV of the Plan and subject to the right of any Insurer to raise any Insurer
Coverage Defense in response to a demand by the Victims Compensation Trust that such Non-
Settling Insurer handle, defend, or pay any such Abuse Claim.

               4. Payments and Distributions with Respect to Disputed Claims

       Notwithstanding anything contrary in the Plan Documents, if any portion of a Claim is a
Disputed Claim, no payment or distribution provided for in the Plan shall be made on account of
such Claim unless and until such Disputed Claim becomes an Allowed Claim.

               5. Distributions After Allowance

        After such time as a Disputed Claim becomes, in whole or in part, an Allowed Claim, the
holder thereof shall be entitled to Plan Distributions, if any, to which such holder is then entitled
as provided in the Plan, without interest, as provided in Section VIII.I of the Plan. Such Plan
Distributions shall be made as soon as practicable after the date that the order or judgment of the
Bankruptcy Court Allowing such Disputed Claim (or portion thereof) becomes a Final Order.

               6. Estimation of Claims

        The Debtors or the Reorganized Debtors, with respect to contingent, unliquidated, and/or
Disputed Administrative Expense Claims, Priority Tax Claims, Other Priority Claims, Other
Secured Claims, and General Unsecured Claims, may at any time request that the Bankruptcy
Court estimate any such contingent, unliquidated, or Disputed Claim or Class of Claims pursuant
to section 502(c) of the Bankruptcy Code or otherwise, including to establish a reserve for Plan
Distribution purposes, regardless of whether the Debtors, the Reorganized Debtors, or any other
Person had previously objected to such Claim or whether the Bankruptcy Court has ruled on any
such objection. The Bankruptcy Court will retain jurisdiction to estimate any Claim or Class of
Claims at any time during litigation concerning any objection to any Claim, including during the
pendency of any appeal relating to any such objection. In the event that the Bankruptcy Court


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estimates any contingent, unliquidated, or Disputed Claim or Class of Claims, the amount so
estimated shall constitute either the Allowed amount of such Claim or Class of Claims, or a
maximum limitation on such Claim or Class of Claims, as determined by the Bankruptcy Court.
If the estimated amount constitutes a maximum limitation on the amount of such Claim or Class
of Claims, the Debtors or the Reorganized Debtors, as applicable, may pursue supplementary
proceedings to object to the allowance of such Claims; provided, however, that such limitation
shall not apply to Claims requested by the Debtors to be estimated for voting purposes only.

               7. No Distributions Pending Allowance

        If an objection, motion to estimate, or other challenge to a Claim is filed, no payment or
Plan Distribution shall be made on account of such Claim unless and until (and only to the extent
that) such Claim becomes an Allowed Claim.

               8. Claims Resolution Procedures Cumulative

      All of the objection, estimation, and resolution procedures in the Plan are intended to be
cumulative and not exclusive of one another. Claims may be estimated and subsequently settled,
compromised, withdrawn, or resolved in accordance with the Plan without further notice or
Bankruptcy Court approval.

               9. Interest

        To the extent that a Disputed Claim becomes an Allowed Claim after the Effective Date,
the holder of such Claim shall not be entitled to any interest that accrued thereon from and after
the Effective Date, except as provided in Section VII.D of the Plan.

               10. Insured Non-Abuse Claims

        To the extent that an Insurer satisfies an Insured Non-Abuse Claim in whole or in part
(based on either a settlement or judgment), then immediately upon such satisfaction, the portion
of such Claim so satisfied may be expunged without an objection to such Claim having to be
filed and without any further notice to or action, order or approval of the Court.

                P. Discharges, Channeling Injunction, Releases, Exculpations and
                   Injunctions; Survival of Indemnification and Exculpation Obligations

               1. Discharge

                      a. Discharge of the Debtors

        Except as expressly provided in the Plan or the Confirmation Order, all
consideration distributed under the Plan shall be in exchange for, and in complete
satisfaction, settlement, discharge, termination and release of, all Claims and Interests of
any nature whatsoever against or in the Debtors or any of their assets or properties based
upon any act, omission, transaction, occurrence, or other activity of any nature that
occurred prior to the Effective Date, and, as of the Effective Date, each of the Debtors shall
be deemed discharged and released, and each holder of a Claim or Interest and any


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successor, assign, and affiliate of such holder shall be deemed to have forever waived,
discharged and released each of the Debtors, to the fullest extent permitted by section 1141
of the Bankruptcy Code, of and from any and all Claims, Interests, rights and liabilities,
and all debts of the kind specified in section 502 of the Bankruptcy Code, based upon any
act, omission, transaction, occurrence, or other activity of any nature that occurred prior
to the Effective Date, in each case whether or not (a) a Proof of Claim based upon such
debt is filed or deemed filed under section 501 of the Bankruptcy Code, (b) a Claim based
upon such debt is Allowed under section 502 of the Bankruptcy Code, (c) a Claim based
upon such debt is or has been Disallowed by order of the Bankruptcy Court, or (d) the
holder of a Claim based upon such debt is deemed to have accepted the Plan.

                     b. Discharge Injunction

         As of the Effective Date, except as expressly provided in the Plan or the
Confirmation Order, all holders of Claims of any nature whatsoever against or in the
Debtors or any of their assets or properties based upon any act, omission, transaction,
occurrence, or other activity of any nature that occurred prior to the Effective Date shall
be precluded and permanently enjoined from prosecuting or asserting any such discharged
Claim against the Debtors or the Reorganized Debtors or the property of the Debtors or
the Reorganized Debtors. In accordance with the foregoing, except as expressly provided in
the Plan or the Confirmation Order, the Confirmation Order shall be a judicial
determination of discharge or termination of all Claims, Interests and other debts and
liabilities against or in the Debtors pursuant to sections 105, 524 and 1141 of the
Bankruptcy Code, and such discharge shall void any judgment obtained against the
Debtors at any time to the extent such judgment relates to a discharged Claim.

              2. Channeling Injunction

                     a. Terms

       Subject to the Reservations as described in Section X.D of the Plan, to preserve and
promote the settlements contemplated by and provided for in the Plan and to supplement,
where necessary, the injunctive effect of the discharge as provided in sections 1141 and 524
of the Bankruptcy Code and as described in Article X of the Plan, pursuant to the exercise
of the equitable jurisdiction and power of the Bankruptcy Court and the District Court
under section 105(a) of the Bankruptcy Code, all Persons that have held or asserted,
currently hold or assert, or that may in the future hold or assert, any Abuse Claim against
the Protected Parties, or any of them, shall be permanently and forever stayed, restrained
and enjoined from taking any action for the purpose of directly or indirectly collecting,
recovering, or receiving payments, satisfaction, or recovery from any Protected Party with
respect to any such Abuse Claim, including:

                              (i)   commencing, conducting, or continuing, in any manner,
whether directly or indirectly, any suit, action, or other proceeding of any kind in any
forum with respect to any such Abuse Claim against any Protected Party or any property
or interest in property of any Protected Party;



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                             (ii)  enforcing, levying, attaching, collecting or otherwise
recovering, by any manner or means, either directly or indirectly, any judgment, award,
decree, or other order against any Protected Party or any property or interest in property
of any Protected Party with respect to any such Abuse Claim;

                              (iii) creating, perfecting, or enforcing in any manner,
whether directly or indirectly, any Lien or Encumbrance of any kind against any Protected
Party or any property or interest in property of any Protected Party with respect to any
such Abuse Claim;

                              (iv) asserting or accomplishing any setoff, right of
subrogation, indemnity, contribution, or recoupment of any kind, whether directly or
indirectly, against any obligation due to any Protected Party or any property or interest in
property of any Protected Party with respect to any such Abuse Claim; and

                            (v)  taking any act, in any manner, in any place whatsoever,
that does not conform to, or comply with, the provisions of the Plan Documents with
respect to any such Abuse Claim.

                     b. Reservations

     Notwithstanding anything to the contrary in Section X.D of the Plan, the
Channeling Injunction shall not enjoin:

                             (i) the right of any Person to the treatment afforded to
such Person under the Plan, including the rights of holders of Abuse Claims to assert such
Abuse Claims in accordance with the Trust Documents solely against the Victims
Compensation Trust;

                              (ii) the right of any Person to assert any Claim for payment
of Trust Expenses solely against the Victims Compensation Trust;

                            (iii) the Victims Compensation Trust from enforcing its
rights under the Trust Documents; or

                              (iv) the rights of the Victims Compensation Trust and the
Reorganized Debtors (to the extent permitted or required under the Plan) to prosecute any
action against the Insurers based on or arising from the Insurance Policies.

              3. Provisions Relating to Channeling Injunction

                     a. Modifications

       There can be no modification, dissolution, or termination of the Channeling Injunction,
which shall be a permanent injunction.




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                      b. Non-Limitation.

        Nothing in the Plan or the Trust Documents shall or shall be construed in any way to
limit the scope, enforceability, or effectiveness of the Channeling Injunction or the Victims
Compensation Trust’s assumption of all liability with respect to Abuse Claims.

                      c. Bankruptcy Rule 3016 Compliance

        The Debtors’ compliance with the requirements of Bankruptcy Rule 3016 shall not
constitute or be deemed to constitute an admission that the Plan provides for an injunction
against conduct not otherwise enjoined under the Bankruptcy Code.

                      d. No Duplicative Recovery.

       In no event shall any holder of an Abuse Claim be entitled to receive any duplicative
payment, reimbursement, or restitution from any Protected Party under any theory of liability for
the same loss, damage, or other Claim that is reimbursed by the Victims Compensation Trust or
is otherwise based on the same events, facts, maters, or circumstances that gave rise to the
applicable Abuse Claim.

                      e. District Court Approval

        The Debtors shall seek an order of the District Court approving (a) the Channeling
Injunction and the Victims Compensation Trust’s assumption of all liability with respect to
Abuse Claims and (b) the releases by holders of Abuse Claims for the benefit of the Protected
Parties, each as set forth in Article X of the Plan.

              4. Injunction Against Interference with Plan

      Upon entry of the Confirmation Order, all holders of Claims and Interests shall be
precluded and enjoined from taking any actions to interfere with the implementation and
consummation of the Plan.

              5. Releases

                      a. Releases by the Debtors

       As of the Effective Date, except for the rights that remain in effect from and after
the Effective Date to enforce the Plan and the Confirmation Order, pursuant to section
1123(b) of the Bankruptcy Code, for good and valuable consideration, the adequacy of
which is hereby confirmed, including the service of the Released Parties to facilitate and
implement the reorganization of the Debtors, as an integral component of the Plan, the
Debtors, the Reorganized Debtors, and the Estates shall, and shall be deemed to, expressly,
conclusively, absolutely, unconditionally, irrevocably, and forever release and discharge
each and all of the Released Parties of and from any and all Causes of Action (including
Avoidance Actions), any and all other Claims, Interests, obligations, rights, demands, suits,
judgments, damages, debts, remedies, losses and liabilities of any nature whatsoever
(including any derivative claims or Causes of Action asserted or that may be asserted on


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behalf of the Debtors, the Reorganized Debtors, or the Estates), whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, existing or hereinafter arising, in law, equity, contract, tort or otherwise, based
on or relating to, or in any manner arising from, in whole or in part, any act, omission,
transaction, event, or other circumstance taking place or existing on or before the Effective
Date (including before the Petition Date) in connection with or related to the Debtors, the
Reorganized Debtors, the Estates, their respective assets and properties, the Chapter 11
Cases, the Plan Documents, and any related agreements, instruments, and other documents
created or entered into before or during the Chapter 11 Cases, the pursuit of Confirmation,
the administration and implementation of the Plan, including the distribution of property
under the Plan, or any other related agreement, or upon any other act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective
Date related or relating to the foregoing. Notwithstanding anything to the contrary in the
foregoing, the releases set forth in Section X.G of the Plan shall not be construed as (a)
releasing any Released Party from Causes of Action arising from an act or omission that is
judicially determined by a Final Order to have constituted fraud, gross negligence or
willful misconduct or (b) releasing any post-Effective Date obligations of any Person under
the Plan or any document, instrument, or agreement executed to implement the Plan or
Reinstated under the Plan.

                      b. Releases by Holders of Abuse Claims

       As of the Effective Date, except for the rights that remain in effect from and after
the Effective Date to enforce the Plan and the Confirmation Order, pursuant to section
1123(b) of the Bankruptcy Code, for good and valuable consideration, the adequacy of
which is hereby confirmed, including the service of the Released Parties to facilitate and
implement the reorganization of the Debtors, as an integral component of the Plan, and
except as otherwise expressly provided in the Plan or the Confirmation Order, to the
maximum extent permitted under applicable law, as such law may be extended subsequent
to the Effective Date, all holders of Abuse Claims shall, and shall be deemed to, expressly,
conclusively, absolutely, unconditionally, irrevocably, and forever discharge and release
each and all of the Protected Parties and their respective property and successors and
assigns of and from all Abuse Claims and any and all Claims and Causes of Action
whatsoever, whether known or unknown, asserted or unasserted, derivative or direct,
foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, whether
for tort, fraud, contract, veil piercing or alter-ego theories of liability, successor liability,
contribution, indemnification, joint liability, or otherwise, arising from or related in any
way to such Abuse Claims.

              6. Exculpation

       From and after the Effective Date, the Exculpated Parties shall neither have nor
incur any liability to, or be subject to any right of action by, any Person for any act,
omission, transaction, event, or other circumstance in connection with or related to the
Debtors, the Reorganized Debtors, the Estates, their respective assets and properties, the
Chapter 11 Cases, the Plan Documents, the pursuit of Confirmation, the administration
and implementation of the Plan, including the distribution of property under the Plan, or


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any other related agreement, or upon any other act or omission, transaction, agreement,
event, or other occurrence related or relating to the foregoing; provided, however, that
Section X.H of the Plan shall not apply to release (a) obligations under the Plan or any
contracts, instruments, releases, agreements, and documents delivered, Reinstated or
assumed under the Plan, (b) any Claims or Causes of Action arising from or related to an
act or omission that is judicially determined by a Final Order to have constituted fraud,
gross negligence or willful misconduct, or (c) any Claims or Causes of Action against the
Debtors or the Reorganized Debtors that are Reinstated under the Plan or otherwise
survive the Effective Date

              7. Injunctions

                     a. Injunction Related to Releases

       As of the Effective Date, all holders of Claims that are the subject of Section X.G.2
of the Plan are, and shall be, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever stayed, restrained, prohibited, barred and enjoined from taking
any of the following actions against any Released Party or its property or successors or
assigns on account of or based on the subject matter of such Claims, whether directly or
indirectly, derivatively or otherwise: (a) commencing, conducting or continuing in any
manner, directly or indirectly, any suit, action or other proceeding (including any judicial,
arbitral, administrative or other proceeding) in any forum; (b) enforcing, attaching
(including any prejudgment attachment), collecting, or in any way seeking to recover any
judgment, award, decree, or other order; (c) creating, perfecting or in any way enforcing in
any matter, directly or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking
reimbursement or contributions from, or subrogation against, or otherwise recouping in
any manner, directly or indirectly, any amount against any liability or obligation that is
discharged under Section X.C of the Plan or released under Section X.G.2 of the Plan.

                     b. Injunction Related to Exculpation

       As of the Effective Date, all holders of Claims that are the subject of Section X.H of
the Plan are, and shall be, expressly, conclusively, absolutely, unconditionally, irrevocably,
and forever stayed, restrained, prohibited, barred and enjoined from taking any of the
following actions against any Exculpated Party and, solely to the extent provided by section
1125(e) of the Bankruptcy Code, any Section 1125(e) Party or its or their property or
successors or assigns on account of or based on the subject matter of such Claims, whether
directly or indirectly, derivatively or otherwise: (a) commencing, conducting or continuing
in any manner, directly or indirectly, any suit, action or other proceeding (including any
judicial, arbitral, administrative or other proceeding) in any forum; (b) enforcing,
attaching (including any prejudgment attachment), collecting, or in any way seeking to
recover any judgment, award, decree, or other order; (c) creating, perfecting or in any way
enforcing in any matter, directly or indirectly, any Lien or Encumbrance; and/or (d)
setting off, seeking reimbursement or contributions from, or subrogation against, or
otherwise recouping in any manner, directly or indirectly, any amount against any liability
or obligation that is discharged under Section X.C of the Plan or released under Section
X.H of the Plan.


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                Q. Reservation of Rights

       Notwithstanding any other provision of the Plan to the contrary, no provision of Article X
of the Plan shall be deemed or construed to satisfy, discharge, release or enjoin claims by the
Victims Compensation Trust, the Reorganized Debtors, or (subject to Article IV of the Plan) any
other Person, as the case may be, against (1) the Victims Compensation Trust for payment of
Abuse Claims in accordance with the Trust Distribution Procedures, (2) the Victims
Compensation Trust for the payment of Trust Expenses, or (3) any Insurer that has not performed
under an Insurance Policy or an Insurance Settlement Agreement.

                R. Disallowed Claims

       On and after the Effective Date, the Debtors and the Reorganized Debtors shall be fully
and finally discharged of any and all liability or obligation on any and all Disallowed Claims,
and any Order Disallowing a Claim that is not a Final Order as of the Effective Date solely
because of a Person’s right to move for reconsideration of such Order pursuant to section 502 of
the Bankruptcy Code or Bankruptcy Rule 3008 shall nevertheless become and be deemed to be a
Final Order on the Effective Date. The Confirmation Order, except as otherwise provided in the
Plan, shall constitute an Order: (a) Disallowing all Claims (other than Abuse Claims) to the
extent such Claims are not allowable under any provision of Section 502 of the Bankruptcy
Code, including time-barred Claims, and Claims for unmatured interest and (b) in relation to
each Debtor, Disallowing or subordinating to all other Claims, as the case may be, any Claims
for penalties, punitive damages or any other damages not constituting compensatory damages.

                S. Retention of Jurisdiction

                1. General Retention

         Until the Chapter 11 Cases are closed, the Bankruptcy Court shall retain jurisdiction over
all matters arising out of, and related to, the Chapter 11 Cases and the Plan pursuant to, and for
the purposes of, sections 105(c) and 1142 of the Bankruptcy Code to the fullest extent permitted
by law, including the jurisdiction necessary to ensure that the purposes and the intent of the Plan
are carried out. Following Confirmation, the administration of the Chapter 11 Cases will
continue until the Chapter 11 Cases are closed by a Final Order of the Bankruptcy Court. The
Bankruptcy Court shall also retain jurisdiction for the purpose of classification of any Claims and
the re-examination of Abuse Claims and Claims that have been Allowed for purposes of voting,
and the determination of such objections as may be filed with the Bankruptcy Court with respect
to any Claims. The failure by the Debtors to object to, or examine, any Claim for the purposes of
voting, shall not be deemed a waiver of the rights of the Debtors, the Reorganized Debtors or the
Victims Compensation Trust, as the case may be, to object to or re-examine such Claim in whole
or part.

                2. Specific Purposes.

       In addition to the foregoing, the Bankruptcy Court shall retain jurisdiction after
Confirmation of the Plan for each of the specific purposes enumerated in Section XI.B of the
Plan. Notwithstanding entry of the Confirmation Order and the occurrence of the Effective Date,
the Bankruptcy Court shall retain jurisdiction over all matters arising out of, and related to, the


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Chapter 11 Cases and the Plan pursuant to, and for the purposes of, sections 105(c) and 1142 of
the Bankruptcy Code and to the fullest extent permitted by law, including the following
purposes:

                      a.    modify the Plan after Confirmation pursuant to the provisions of
the Bankruptcy Code and the Bankruptcy Rules;

                       b.     correct any defect, cure any omission, reconcile any inconsistency
or make any other necessary changes or modifications in or to the Plan, the Trust Documents or
the Confirmation Order as may be necessary to carry out the purposes and intent of the Plan,
including the adjustment of the date(s) of performance in the Plan in the event the Effective Date
does not occur as provided herein so that the intended effect of the Plan may be substantially
realized thereby;

                          c.    to enter and implement such orders as are necessary or appropriate
if the Confirmation Order is for any reason or in any respect modified, stayed, reversed, revoked
or vacated, or if distributions pursuant to the Plan or the Trust Documents are enjoined or stayed;

                       d.   to hear and determine all applications for compensation of
Professionals and reimbursement of expenses under sections 328, 330, 331 and/or 503(b) of the
Bankruptcy Code;

                        e.    to hear and determine any Causes of Action arising during the
period from the Petition Date to the Effective Date, or in any way related to the Plan or the
transactions contemplated hereby, against the Debtors, the Reorganized Debtors, the Victims
Compensation Trust, the Victims Compensation Trustee, or the Official Committees or the
Future Claimants’ Representative and their respective officers, directors, employees, members,
attorneys, accountants, financial advisors, representatives and agents;

                      f.    to determine any and all motions, including motions pending as of
Confirmation, for the rejection, assumption or assumption and assignment of Executory
Contracts or Unexpired Leases and the Allowance of any Claims resulting therefrom;

                       g.     to hear and determine matters concerning state, local and federal
taxes in accordance with sections 346, 505 and 1146 of the Bankruptcy Code;

                       h.    to determine such other matters and for such other purposes as may
be provided in the Confirmation Order;

                        i.   to determine any and all motions, adversary proceedings, contested
or litigated matters, and any other matters and grant or deny any applications involving the
Debtors that may be pending on the Effective Date (which jurisdiction shall be non-exclusive as
to any such non-core matters);

                      j.    to determine the Allowance and/or Disallowance of any Claims
against the Debtors or their Estates, including any objections to any such Claims and the
compromise and settlement of any Claim against the Debtors or their Estates;



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                         k.    to determine all questions and disputes regarding title to the assets
of the Debtors or their Estates or the Trust Assets;

                        l.     to ensure that Plan Distributions to holders of Allowed Claims and
that Trust Distributions to holders of Abuse Claims are accomplished pursuant to the provisions
of the Plan and adjudicate any and all disputes relating to distributions under the Plan or the
Trust Documents;

                   m. to construe, enforce and resolve all questions and disputes relating
to employment agreements existing or approved by the Bankruptcy Court at or before
Confirmation;

                        n.     to hear and determine the Insurance Actions and to determine all
questions and issues arising thereunder;

                     o.   to hear and determine any matters related to the Victims
Compensation Trust’s indemnification obligations under Article IV of the Plan and the Trust
Documents;

                     p.   to hear and determine any other matters related hereto, including
the implementation and enforcement of all orders entered by the Bankruptcy Court in the
Chapter 11 Cases;

                       q.    to enter in aid of implementation of the Plan such orders as are
necessary, including orders in aid of the implementation and enforcement of the releases, the
Channeling Injunction, and the other injunctions described herein;

                          r.    to enter and implement such orders as may be necessary or
appropriate if any aspect of the Plan, the Victims Compensation Trust or the Confirmation Order
is, for any reason or in any respect, determined by a court to be inconsistent with, to violate, or to
be insufficient to satisfy any of the terms, conditions, or other duties associated with any
Insurance Policies; and

                        s.     to enter a Final Order or decree concluding or closing the Chapter
11 Cases.

        To the extent that the Bankruptcy Court is not permitted under applicable law to preside
over any of the foregoing matters, the reference to the “Bankruptcy Court” in Section V.S of this
Disclosure Statement and Article XI of the Plan shall be deemed to be replaced by the “District
Court.”

              ARTICLE VI. ACCEPTANCE OR REJECTION OF THE PLAN

                A. Classes Entitled to Vote on the Plan

        Under the Bankruptcy Code, holders of claims and interests are not entitled to vote if
their contractual rights are unimpaired by the proposed plan or if they will receive no property
under the plan. Holders of Claims in Classes 1 and 2 and holders of Interests in Class 7 are


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Unimpaired under the Plan and are therefore conclusively presumed to have accepted the Plan
pursuant to section 1126(f) of the Bankruptcy Code. Accordingly, no holders of Claims or
Interests in such Classes shall be entitled to vote to accept or reject the Plan.

       Each of Classes 3A (2010 Credit Facility Claims), 3B (2019 RCF Claims), 4A (2010
Bond Claims), 4B (2012 Bond Claims), 5 (General Unsecured Claims), and 6 (Abuse Claims)
are Impaired and the holders of Allowed Claims in Classes 3A, 3B, 4A, 4B, and 5, and all
Claims in Class 6, are entitled to vote to accept or reject the Plan.

        If your Claim or Interest is not included in the Voting Classes, you are not entitled to vote
and you will not receive a Solicitation Package, including a Ballot setting forth detailed voting
instructions. If your Claim is included in the Voting Classes, you should read your Ballot and
carefully follow the instructions included in the Ballot. Please use only the Ballot that
accompanies this Disclosure Statement or the Ballot that the Debtors otherwise provided to you.

                B. Votes Required for Acceptance by a Class

        Under the Bankruptcy Code, acceptance of a plan of reorganization by a class of claims
or interests is determined by calculating the amount and, if a class of claims, the number, of
claims and interests voting to accept, as a percentage of the allowed claims or interests, as
applicable, that have voted. Acceptance by a class of claims requires an affirmative vote of more
than one-half in number of total allowed claims in such class that have voted and an affirmative
vote of at least two-thirds in dollar amount of the total allowed claims in such class that have
voted. Acceptance by a class of interests requires an affirmative vote of at least two-thirds in
amount of the total allowed interests in such class that have voted.

                C. Certain Factors to Be Considered Prior to Voting

       There are a variety of factors that all holders of Interests entitled to vote on the Plan
should consider prior to voting to accept or reject the Plan. These factors, which may impact
recoveries under the Plan, include the following:

                1. unless otherwise specifically indicated, the financial information contained
                   in this Disclosure Statement has not been audited and is based on an analysis
                   of data available at the time of the preparation of the Plan and this Disclosure
                   Statement;

                2. although the Debtors believe that the Plan complies with all applicable
                   provisions of the Bankruptcy Code, the Debtors can neither assure such
                   compliance nor that the Bankruptcy Court will confirm the Plan;

                3. the Debtors may request Confirmation without the acceptance of all Impaired
                   Classes entitled to vote in accordance with section 1129(b) of the
                   Bankruptcy Code; and

                4. any delays of either Confirmation or the occurrence of Effective Date could
                   result in, among other things, increased Administrative Expense Claims and
                   Professional Fee Claims.


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       While these factors could affect distributions available to holders of Allowed Claims
under the Plan, the occurrence or impact of such factors will not necessarily affect the validity of
the vote of the Voting Classes or necessarily require a re-solicitation of the votes of holders of
Claims in the Voting Classes.

       For a further discussion of risk factors, please refer to Article VIII of this Disclosure
Statement, entitled “Risk Factors.”

                      ARTICLE VII. CONFIRMATION PROCEDURES

                 A. Hearing on Plan Confirmation

        Under section 1128(a) of the Bankruptcy Code, the Bankruptcy Court, after notice, shall
hold a hearing to confirm a plan of reorganization. The Confirmation Hearing pursuant to section
1128 of the Bankruptcy Code will be held on [_____], 2020 at [_].m. prevailing Eastern Time,
before the Honorable Judge [_____], United States Bankruptcy Judge for the District of
Delaware, in the United States Bankruptcy Court for the District of Delaware, located at 824
North Market Street, [___] Floor, Courtroom [___], Wilmington, Delaware. The Confirmation
Hearing may be continued from time to time without further notice other than an adjournment
announced in open court or a notice of adjournment filed with the Bankruptcy Court and served
on those parties who have requested notice under Bankruptcy Rule 2002 and the entities who
have filed an objection to the Plan, if any, without further notice to parties in interest. The
Bankruptcy Court, in its discretion and prior to the Confirmation Hearing, may put in place
additional procedures governing the Confirmation Hearing. Subject to section 1127 of the
Bankruptcy Code, the Plan may be modified, if necessary, prior to, during, or as a result of the
Confirmation Hearing, without further notice to parties in interest.

        Additionally, section 1128(b) of the Bankruptcy Code provides that any party in interest
may object to Confirmation. Any objection to Confirmation of the Plan must: (i) be made in
writing; (ii) state the name and address of the objecting party and the nature of the claim or
interest of such party; (iii) state with particularity the legal and factual basis and nature of any
objection to the Plan; and (iv) be filed with the Court and served on the Debtors and certain other
parties in interest in accordance with the applicable order of the Bankruptcy court so that they are
received on or before [________] at [__]:00 [_].m. prevailing Eastern Time.

                 B. Requirements for Confirmation of the Plan

        At the Confirmation Hearing, the Bankruptcy Court will confirm the Plan only if all of
the requirements of section 1129 of the Bankruptcy Code are met. Among the requirements for
confirmation are that the Plan (i) is accepted by all Impaired Classes of Claims and Interests or,
if rejected by an Impaired Class, that the Plan “does not discriminate unfairly” and is “fair and
equitable” as to such Class, (ii) is feasible and (iii) is in the “best interests” of holders of Claims
and Interests Impaired under the Plan.

       The Plan fully complies with the statutory requirements for Confirmation listed below.

               1.    The proponents of the Plan have complied with the applicable provisions
of the Bankruptcy Code.


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                2.     The Plan has been proposed in good faith and not by any means forbidden
by law.

                 3.    Any payment made or to be made by the Debtors (or any other proponent
of the Plan) or by a person issuing securities or acquiring property under the Plan, for services or
for costs and expenses in or in connection with the Chapter 11 Cases, in connection with the Plan
and incident to the Chapter 11 Cases is subject to the approval of the Bankruptcy Court as
reasonable.

                  4.    The Debtors have disclosed the identity and affiliations of any individual
proposed to serve, after Confirmation, as a director or officer of the Reorganized Debtors, any
Affiliate of the Debtors reorganized under the Plan, or any successor to the Debtors under the
Plan, and the appointment to, or continuance in, such office of such individual is consistent with
the interests of creditors and holders of Interests and with public policies.

               5.    The Debtors have disclosed the identity of any Insider that will be
employed or retained by the Reorganized Debtors and the nature of any compensation for such
Insider.

                 6.   With respect to each Holder within an Impaired Class of Claims or
Interests, each such Holder has accepted the Plan or (b) will receive or retain under the Plan on
account of such Claim or Interest property of a value, as of the Effective Date, that is not less
than the amount that such Holder would so receive or retain if the Debtor was liquidated under
chapter 7 of the Bankruptcy Code on such date.

               7.   With respect to each Class of Claims or Interests, such Class (a) has
accepted the Plan or is Unimpaired under the Plan (subject to the “cram-down” provisions
discussed below).

                8.     The Plan provides for treatment of Claims, as applicable, in accordance
with the provisions of section 507(a) of the Bankruptcy Code.

                9.    If a Class of Claims or Interests is Impaired under the Plan, at least one
Class of Claims or Interests that is Impaired under the Plan has accepted the Plan, determined
without including any acceptance of the Plan by any Insider.

                10. Confirmation is not likely to be followed by the liquidation or the need for
further financial reorganization, of the Reorganized Debtors, or any successor to the Debtors
under the Plan, unless such liquidation or reorganization is proposed in the Plan.

                11. All fees payable under 28 U.S.C. § 1930 have been paid or the Plan
provides for the payment of all such fees on the Effective Date.

     AS EXPLAINED IN SECTION VIII.B OF THIS DISCLOSURE STATEMENT,
THE BANKRUPTCY CODE CONTAINS PROVISIONS FOR CONFIRMATION OF A
PLAN EVEN IF IT IS NOT ACCEPTED BY ALL CLASSES. THESE SO-CALLED
“CRAM-DOWN” PROVISIONS ARE SET FORTH IN SECTION 1129(b) OF THE
BANKRUPTCY CODE, WHICH PROVIDES THAT A PLAN OF REORGANIZATION


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CAN BE CONFIRMED EVEN IF IT HAS NOT BEEN ACCEPTED BY ALL IMPAIRED
CLASSES OF CLAIMS AND INTERESTS AS LONG AS AT LEAST ONE IMPAIRED
CLASS OF NON-INSIDER CLAIMS HAS VOTED TO ACCEPT THE PLAN.

                C. Best Interests of Creditors / Liquidation Analysis

        Section 1129(a)(7) of the Bankruptcy Code requires that each Holder of an Impaired
Claim or Interest either (a) accept the Plan or (b) receive or retain under the Plan property of a
value, as of the Effective Date, that is not less than the value such Holder would receive if the
Debtors were liquidated under chapter 7 of the Bankruptcy Code. Six Classes of Impaired
Claims, 2010 Credit Facility Claims (Class 3A), 2019 RCF Claims (Class 3B), 2010 Bond
Claims (Class 4A), 2012 Bond Claims (Class 4B) General Unsecured Claims (Class 5), and
Abuse Claims (Class 6) are Impaired under the Plan.

        To calculate the probable distribution to holders of each impaired class of claims and
interests if the Debtors were liquidated under chapter 7, the Bankruptcy Court must first
determine the aggregate dollar amount that would be generated from the Debtors’ assets if the
Chapter 11 Cases were converted to cases under chapter 7 of the Bankruptcy Code. This
“liquidation value” would consist primarily of the proceeds from a sale of the Debtors’ assets by
a chapter 7 trustee.

        The amount of liquidation value available to unsecured creditors and interest holders
would be reduced by the claims of any secured creditors to the extent of the value of their
collateral, by the costs and expenses of liquidation, and by other administrative expenses and
costs of both the chapter 7 cases and the Chapter 11 Cases. Costs of liquidation under chapter 7
of the Bankruptcy Code would include the compensation of a trustee, as well as of counsel and
other professionals retained by the trustee, asset disposition expenses, all unpaid expenses
incurred by the Debtors in the Chapter 11 Cases (such as compensation of attorneys, financial
advisors, and accountants) that are allowed in the chapter 7 cases, litigation costs, and any claims
arising from the operations of the Debtors during the pendency of the Chapter 11 Cases.

        Once the Bankruptcy Court ascertains the recoveries in liquidation of secured creditors
and priority claimants, if any, it must determine the probable distribution to general unsecured
creditors and equity security holders from the remaining available proceeds in liquidation. If
such probable distribution has a value greater than the distributions to be received by such
creditors and equity security holders under the plan, then the plan is not in the best interests of
creditors and equity security holders.

       Six Classes of Impaired Claims, 2010 Credit Facility Claims (Class 3A), 2019 RCF
Claims (Class 3B), 2010 Bond Claims (Class 4A), 2012 Bond Claims (Class 4B), General
Unsecured Claims (Class 5), and Abuse Claims (Class 6), are Impaired under the Plan. If the
Debtors were liquidated under chapter 7 of the Bankruptcy Code, holders of General Unsecured
Claims (Class 5) and Abuse Claims (Class 6) would receive lesser distributions than under the
Plan, as explained in detail in the Liquidation analysis, to be attached to a subsequent
amendment to this Disclosure Statement as Exhibit B.




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       Here, the Plan is in the best interests of claimants and interest holders and meets the
requirements of section 1129(a)(7) of the Bankruptcy Code.

                D. Feasibility

        The Bankruptcy Code requires that a debtor demonstrate that confirmation of a plan of
reorganization is not likely to be followed by liquidation or the need for further financial
reorganization. For purposes of determining whether the Plan meets this requirement, the
Debtors have analyzed their ability to meet obligations under the Plan. The Debtors, with the
assistance of their advisors, have prepared projections for the calendar years 2020 through
[20__], including management’s assumptions related thereto, to be attached to a subsequent
amendment to this Disclosure Statement as Exhibit C (the “Financial Projections”). The
Financial Projections assume that the Plan will be implemented in accordance with its stated
terms. The Debtors are unaware of any circumstances as of the date of this Disclosure Statement
that would require the re-forecasting of the Financial Projections due to a material change in the
Debtors’ prospects. As reflected in the Financial Projections, the Debtors anticipate that they will
timely meet all of their collective obligations and will be financially viable after Confirmation of
the Plan. Accordingly, the Debtors believe that Confirmation is not likely to be followed by
liquidation or the need for further reorganization.

                E. Acceptance by Impaired Class

        The Bankruptcy Code requires, as a condition to confirmation, that each class of claims
or interests that is impaired under a plan of reorganization, accept the plan. A class that is not
“impaired” under a plan is deemed to have accepted the plan and, therefore, solicitation of
acceptances with respect to such class is not required. As stated above, the Voting Classes are
Impaired Class and is comprised of the holders of Claims in Class 3A, Class 3B, Class 4A, Class
4B, Class 5, and Class 6. Section 1126(c) of the Bankruptcy Code defines acceptance of a plan
by a class of impaired claims as an affirmative vote of more than one-half in number of total
allowed claims in such class that have voted and an affirmative vote of at least two-thirds in
dollar amount of the total allowed claims in such class that have voted. Thus, the Voting Classes
described herein will have voted to accept the Plan only if one-half of the holders of Allowed
Claims, as applicable, with at least two-thirds of the total dollar amount of the Allowed Claims,
as applicable, vote on the Plan to accept.

                F. Conditions Precedent to Confirmation of the Plan

        Confirmation of the Plan shall not occur unless following conditions precedent have been
satisfied:

                1.     the Confirmation Order shall be in form and substance acceptable to the
Debtors;

                 2.     The Confirmation Order shall approve and implement the Channeling
Injunction set for in Section X.D of the Plan; and

                3.     The Plan Documents shall be in form and substance acceptable to the
Debtors.


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                G. Conditions Precedent to the Effective Date

       The Effective Date of the Plan shall not occur unless following conditions precedent have
been satisfied or waived in accordance with Article IX of the Plan:

               1.       the Confirmation Order, in form and substance acceptable to the Debtors,
shall have been entered by the Bankruptcy Court, shall have become a Final Order, and shall
have been adopted, affirmed, issued or ratified by the District Court;

               2.      the Trust Agreement and the Trust Distribution Procedures shall have
become effective in accordance with the terms of the Plan;

                3.     the Trust shall have been established and funded in accordance with the
Plan;

                 4.      the Debtors shall have obtained all authorizations, consents,
certifications, approvals, rulings, opinions or other documents that are necessary to implement
and effectuate the Plan;

                 5.      all actions, documents, and agreements necessary to implement and
effectuate the Plan shall have been effected or executed; and

                6.     the Debtors shall have filed a notice of occurrence of the Effective Date.

                H. Waiver of Conditions Precedent to the Effective Date

        Except for the conditions precedent set forth in Section VII.G of this Disclosure
Statement, each of the conditions precedent to the occurrence of the Effective Date set forth
above may be waived in whole or in part by the Debtors without notice to or leave or order of the
Bankruptcy Court or any formal action other than proceedings to confirm or consummate the
Plan. The failure to satisfy any condition precedent to the to the Confirmation Date or satisfy or
waive any condition precedent to the Effective Date may be asserted by the Debtors regardless of
the circumstances giving rise to the failure of such condition to be satisfied.

                I. Vacatur of Confirmation Order; Non-Occurrence of Effective Date

        If the Confirmation Order is vacated or the Effective Date does not occur within 180 days
after entry of the Confirmation Order (subject to extension by the Debtors in their sole
discretion), the Plan shall be null and void in all respects and nothing contained in the Plan or
this Disclosure Statement shall (1) constitute a waiver or release of any Causes of Action by or
Claims against or Interests in the Debtors; (2) prejudice in any manner the rights of the Debtors,
any holders of a Claim or Interest or any other Person; (3) constitute an admission,
acknowledgment, offer, or undertaking by the Debtors, any holders, or any other Person in any
respect; or (4) be used by the Debtors or any other Person as evidence (or in any other way) in
any litigation, including with respect to the strengths and weaknesses of positions, arguments or
claims of any of the parties to such litigation.




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                 J. Alternatives to Confirmation and Consummation of the Plan

        The Debtors have evaluated several alternatives to the Plan. After studying these
alternatives, the Debtors have concluded that the Plan is the preferred approach to effectuating
the Debtors’ restructuring and maximizing the prospects of a continuation of their mission and
value for all stakeholders and, therefore, is in the best interests of all constituencies. If the Plan is
not confirmed, the Debtors’ ability to continue operating as a going concern could be severely
jeopardized. The realistic alternatives likely will be (1) the preparation and presentation of an
alternative plan of reorganization, (2) an out-of-court restructuring involving a dismissal of the
proceedings, or (3) a liquidation under chapter 7 of the Bankruptcy Code.

                                ARTICLE VIII. RISK FACTORS

        The following provides a summary of various important considerations and other risk
factors associated with the Plan; however, it is not exhaustive. There are risks, uncertainties, and
other important factors that could cause the Debtors’ actual performance or achievements to be
materially different from those they may project, and the Debtors undertake no obligation to
update any such statement.

                 A. Business-Related Risks

         The Financial Projections are dependent upon the successful implementation of the
Debtors’ business plan and the validity of the other assumptions contained therein. These
projections reflect numerous assumptions, including Confirmation and consummation of the Plan
in accordance with its terms, the anticipated future performance of the Debtors, industry
performance, certain assumptions with respect to competitors of the Debtors, general business
and economic conditions, and other matters, many of which are beyond the control of the
Debtors. In addition, unanticipated events and circumstances occurring subsequent to the
preparation of the projections may affect the actual financial results of the Debtors. Although the
Debtors believe that the projections are reasonably attainable, variations between the actual
financial results and those projected may occur and be material.

                 B. Bankruptcy-Specific Considerations

                1. General

         Although the Debtors believe that the Chapter 11 Cases will be of short duration and
will not be materially disruptive to the Debtors’ mission, the Debtors cannot be certain that this
will be the case. Although the Plan is designed to minimize the length of the Chapter 11 Cases, it
is impossible to predict with certainty the amount of time that the Debtors may spend in
bankruptcy or to assure parties in interest that the Plan will be confirmed. Even if confirmed on a
timely basis, bankruptcy proceedings could have a material adverse effect on the Debtors’
business operations. A delay in the bankruptcy proceedings will also involve additional expense
and may divert some of the attention of the Debtors’ management away from operation of the
organization.




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               2. Nonacceptance of the Plan—Confirmation by Nonconsensual “Cram-
                  down”

       The Plan provides that six Classes of Claims are Impaired. If any impaired Classes of
Claims are deemed to reject the Plan, the Bankruptcy Court nevertheless may confirm the Plan at
the Debtors’ request pursuant to the “cram-down” provisions of the Bankruptcy Code if at least
one impaired Class of Claims has accepted the Plan (with such acceptance being determined
without including the acceptance of any “insider” in such Class) and, as to each impaired Class
which has not accepted the Plan, the Bankruptcy Court determines that the Plan “does not
discriminate unfairly” and is “fair and equitable” with respect to such impaired class.

        Although the Debtors believe that the Plan would meet such tests, the Debtors cannot
assure you that the Bankruptcy Court would reach the same conclusion.

               3. Objections to the Plan’s Classification or Amounts of Claims and Interests

          Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an
interest in a particular class only if such claim or interest is substantially similar to the other
claims or interests in such class. The Debtors believe that the classification of the Claims and
Interests under the Plan complies with the requirements set forth in the Bankruptcy Code because
the Debtors created Classes of Claims or Interests, each encompassing Claims or Interests, as
applicable, that are substantially similar to the other Claims and Interests in each such Class.
Nevertheless, there can be no assurance that parties in interest will not object to the classification
or amounts of Claims and Interests under the Plan, or that the Bankruptcy Court will approve
such classification or amounts.

               4. The Conditions Precedent to Plan Confirmation and the Effective Date of
                  the Plan May Not Occur

          As more fully set forth in Article IX of the Plan, Plan Confirmation and the Effective
Date are subject to a number of conditions precedent. If such conditions precedent are not
satisfied or waived, Plan Confirmation, the Effective Date, or both will not occur.

               5. Non-Confirmation or Delay of Confirmation of the Plan

         In the event that votes are received in number and amount sufficient to enable the
Bankruptcy Court to confirm the Plan, the Debtors intend to seek, as promptly as practicable
thereafter, Confirmation of the Plan. Section 1129 of the Bankruptcy Code sets forth the
requirements for confirmation of a chapter 11 plan, and requires, among other things, findings by
a bankruptcy court that: (a) such plan “does not unfairly discriminate” and is “fair and equitable”
with respect to any non-accepting classes; (b) confirmation of such plan is not likely to be
followed by a liquidation or a need for further financial reorganization unless such liquidation or
reorganization is contemplated by the plan; and (c) the value of distributions to non-accepting
holders of claims or equity interests within a particular class under such plan will not be less than
the value of distributions such holders would receive if the debtor was liquidated under Chapter
7 of the Bankruptcy Code.




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          The Bankruptcy Court may determine that this Disclosure Statement and/or the
solicitation procedures did not satisfy the requirements of the Bankruptcy Code or the
Bankruptcy Rules or may decline to confirm the Plan if it finds that any of the statutory
requirements for Confirmation have not been met, including the requirement that the terms of the
Plan do not “unfairly discriminate” and are “fair and equitable” to non-accepting Classes, or the
Plan contains other terms disapproved of by the Bankruptcy Court. If the Debtors fail to achieve
Confirmation, the Chapter 11 Cases would likely continue for a protracted period without
indication of how or when the Chapter 11 Cases may be completed. Some of the risks that the
Debtors face in a bankruptcy proceeding would become more acute in such a scenario, including
certain risks that are beyond their control, such as deterioration or other changes in economic
conditions, changes in the industry in which the Debtors operate, and potential revaluing of their
assets due to chapter 11 proceedings.

         Even if the requisite acceptances of a proposed plan are received, the Bankruptcy Court
is not obligated to confirm the Plan as proposed. A dissenting Holder of a Claim or Interest
against the Debtors could challenge the solicitation procedures as not being in compliance with
the Bankruptcy Code, which could mean that the results of the Solicitation may be invalid. If the
Bankruptcy Court determined that the solicitation procedures were appropriate and the results
were valid, the Bankruptcy Court could still decline to confirm the Plan if the Bankruptcy Court
found that any of the statutory requirements for confirmation had not been met.

         If the Plan is not confirmed by the Bankruptcy Court, (a) the Debtors may not be able to
successfully reorganize; (b) the distributions that holders of Claims or Interests ultimately would
receive, if any, with respect to their Claims or Interests would be uncertain, and (c) there may be
no assurance that the Debtors will be able to successfully develop, prosecute, confirm, and
consummate an alternative plan that will be acceptable to the Bankruptcy Court and the holders
of Claims or Interests.

               6. Amendment of Plan Prior to Confirmation by the Debtors

          The Debtors, subject to the terms and conditions of the Plan, reserve the right to modify
the terms and conditions of the Plan or waive any conditions thereto if and to the extent
necessary or desirable for Confirmation. The potential impact of any such amendment or waiver
on holders of Claims and Interests cannot presently be foreseen but may include a change in the
economic impact of the Plan on some or all of the proposed Classes or a change in the relative
rights of such Classes.

               7. Failure to Obtain Approval of Releases, Injunctions and Exculpation

         As set forth in Section V.P of this Disclosure Statement, the Plan provides for certain
releases, injunctions, and exculpations, including a release of liens and third-party releases that
may otherwise be asserted against the Debtors, the Reorganized Debtors, the other Released
Parties and their respective Related Parties, as applicable. The releases, injunctions, and
exculpations (including, for the avoidance of doubt, the Channeling Injunction and the
definitions of Released Parties and Exculpated Parties) provided in the Plan are subject to
objection by parties in interest and may not be approved. If the releases are not approved, certain




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parties may not be considered Released Parties or Exculpated Parties, and certain Released
Parties or Exculpated Parties may withdraw their support for the Plan.

               8. Plan Based on Assumptions

         The Plan affects the capital structure and the structure and operation of the Debtors’
organization and reflects assumptions and analyses based on the Debtors’ experience and
perception of historical trends, current conditions, and expected future developments, as well as
other factors that the Debtors consider appropriate under the circumstances. Whether actual
future results and developments will be consistent with the Debtors’ expectations and
assumptions depends on a number of factors, including the Debtors’ ability to maintain the
public’s confidence in the Debtors’ viability as a continuing entity and enterprise and to attract
and retain sufficient interest in their organization and (c) ability to retain key employees. The
failure of any of these factors could materially adversely affect the successful reorganization of
the Debtors’ business.

         In addition, the Plan relies upon the Financial Projections, including with respect to
revenues, EBIDA, debt service, and cash flow. Financial forecasts are necessarily speculative,
and it is likely that one or more of the assumptions and estimates that are the basis of these
financial forecasts will not be accurate. Consequently, there can be no assurance that the results
or developments contemplated by any plan of reorganization implemented will occur or, even if
they do occur, that they will have the anticipated effects on the Debtors and their subsidiaries or
their businesses or operations. The failure of any such results or developments to materialize as
anticipated could materially adversely affect the successful implementation of the Plan.

                                 ARTICLE IX.
                  CERTAIN UNITED STATES FEDERAL INCOME TAX
                         CONSEQUENCES OF THE PLAN

        The following discussion is a summary of certain U.S. federal income tax consequences
of the Plan and is for general information purposes only. This summary should not be relied
upon for purposes of determining the specific tax consequences of the Plan with respect to a
particular holder of a Claim or Interest. This discussion does not purport to be a complete
analysis or listing of all potential tax considerations.

        This discussion is based on existing provisions of the Internal Revenue Code of 1986, as
amended (the “Code”), existing and proposed Treasury Regulations promulgated thereunder, and
current administrative rulings and court decisions. Legislative, judicial, or administrative
changes or interpretations enacted or promulgated after the date hereof could alter or modify the
analyses set forth below with respect to the U.S. federal income tax consequences of the Plan.
Any such changes or interpretations may be retroactive and could significantly affect the U.S.
federal income tax consequences of the Plan.

       Due to the lack of definitive judicial and administrative authority in a number of areas,
substantial uncertainty may exist with respect to some of the tax consequences described below.
No ruling has been requested or obtained from the IRS with respect to any tax aspects of the Plan
and no opinion of counsel has been sought or obtained with respect thereto. The discussion



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below is not binding upon the IRS or any court. No assurance can be given that the IRS would
not assert, or that a court would not sustain, a different position than any position discussed
herein. No representations or assurances are being made to the holders of Claims or Interests
with respect to the U.S. federal income tax consequences described herein.

     ACCORDINGLY, THE FOLLOWING SUMMARY OF CERTAIN U.S.
FEDERAL INCOME TAX CONSEQUENCES IS FOR INFORMATIONAL PURPOSES
ONLY AND IS NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE
BASED UPON THE INDIVIDUAL CIRCUMSTANCES PERTAINING TO A HOLDER
OF A CLAIM OR INTEREST. ALL HOLDERS OF CLAIMS OR INTERESTS ARE
URGED TO CONSULT THEIR OWN TAX ADVISORS FOR THE FEDERAL, STATE,
LOCAL AND NON-U.S. TAX CONSEQUENCES OF THE PLAN.

               A. The Victims Compensation Trust

       On the Confirmation Date, the Victims Compensation Trust shall be established in
accordance with the Trust Documents. The Victims Compensation Trust is intended to qualify as
a “qualified settlement fund” (“QSF”) pursuant to Treasury Regulation section 1.468B-1. The
Protected Parties are the “transferors” within the meaning of Treasury Regulation Section
1.468B-1(d)(1). The Victims Compensation Trustee shall be classified as the “administrator”
within the meaning of Treasury Regulation Section 1.468B-2(k)(3). The Trust Documents,
including the Trust Agreement, are incorporated herein by reference.

  The primary tax consequences of the Victims Compensation Trust being characterized as a
QSF are the following:

   1. The Victims Compensation Trust must use a calendar taxable year and the accrual
      method of accounting.

   2. If the Protected Parties fund the Victims Compensation Trust with appreciated property,
      the Protected Parties are deemed to sell the property to the Victims Compensation Trust.
      Accordingly, any gain or loss from the deemed sale must be reported by the Protected
      Parties.

   3. The Victims Compensation Trust takes a fair market value basis in property contributed
      to it by the Protected Parties.

   4. The Victims Compensation Trust’s gross income less certain modifications is taxable at
      the highest federal tax rate applicable to trusts and estates. The Protected Parties’ funding
      of the Victims Compensation Trust with Cash and other property is not reported by the
      Victims Compensation Trust as taxable income. However, earnings recognized from, for
      example, the short-term investment of the Victims Compensation Trust’s funds will be
      subject to tax.

   5. The Victims Compensation Trust may deduct from its gross income a limited number of
      administrative expenses; the Victims Compensation Trust is not entitled to deduct
      distributions paid to its beneficiaries.



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   6. The Victims Compensation Trust will have a separate taxpayer identification number and
      will be required to file annual tax returns (which are due on March 15, or later if an
      extension is granted under applicable law). The Victims Compensation Trust will also be
      required to comply with a number of other administrative tax rules including filing
      information returns (generally IRS Form 1099) when approved payments are made to
      claimants.

                B. Holder of Class 3A, 3B, 4A, and 4B Claims

       The holder of the Class 3A, 3B, 4A, and 4B Claims is strongly urged to consult its own
tax advisors regarding the specific tax consequences of the transactions described herein and in
the Plan.

                C. Holders of Class 5 and Class 6 Claims

        The federal income tax consequences to a holder of a Class 5 or Class 6 Claim receiving,
or entitled to receive, a distribution in partial or total satisfaction of a Claim may depend on a
number of factors, including the nature of the Claim, the claimants’ method of accounting, and
their own particular tax situation. Because each claimant’s tax situation differs, claimants should
consult their own tax advisors to determine how the Plan affects them for federal, state and local
tax purposes, based on their particular tax situations.

        Among other things, the federal income tax consequences of a distribution to a claimant
may depend initially on the nature of the original transaction pursuant to which the Claim arose.
For example, a distribution in repayment of the principal amount of a loan is generally not
included in the claimant’s gross income. A distribution to a holder of an Abuse Claim may not be
taxable as it may be considered compensation for personal injuries. The federal income tax
consequences of a distribution to a claimant may also depend on whether the item to which the
distribution relates has previously been included in the claimant’s gross income or has previously
been subject to a loss or bad debt deduction. For example, if a distribution is made in satisfaction
of a receivable acquired in the ordinary course of the claimant’s trade or business, and the
claimant had previously included the amount of such receivable distribution in his or her gross
income under his or her method of accounting, and had not previously claimed a loss or bad debt
deduction for that amount, the receipt of the distribution should not result in additional income to
the claimant but may, as discussed below, result in a loss.

       Conversely, if the claimant had previously claimed a loss or bad debt deduction with
respect to the item previously included in income, the claimant generally would be required to
include the amount of the distribution in income when received.

         A claimant receiving a distribution in satisfaction of his or her Claim generally may
recognize taxable income or loss measured by the difference between (i) the cash and the fair
market value (if any) of the property received and (ii) its adjusted tax basis in the Claim. For this
purpose, the adjusted tax basis may include amounts previously included in income (less any bad
debt or loss deduction) with respect to that item. This income or loss may be ordinary income or
loss if the distribution is in satisfaction of accounts or notes receivable acquired in the ordinary
course of the claimant’s trade or business for the performance of services or for the sale of goods



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or merchandise. In addition, if a claimant had claimed an ordinary bad debt deduction for the
worthlessness of his or her Claim in whole or in part in a prior taxable year, any income realized
by the claimant as a result of receiving a distribution may be taxed as ordinary income to the
extent of the ordinary deduction previously claimed. Generally, the income or loss will be capital
gain or loss if the Claim is a capital asset in the claimant’s hands

                D. Holders that are Non-United States Persons

        Holders of Claims that are not “United States persons” (within the meaning of Section
7701(a)(30) of the Code) generally will not be subject to U.S. federal income tax with respect to
property (including Cash) received in exchange for such Claims, unless (i) such holder is
engaged in a trade or business in the United States to which income, gain or loss from the
exchange is “effectively connected” for U.S. federal income tax purposes, or (ii) if such holder is
an individual, such holder is present in the United States for 183 days or more during the taxable
year of the exchange and certain other requirements are met.

                                   ARTICLE X.
                        CONCLUSION AND RECOMMENDATION

         In the opinion of the Debtors, the Plan is preferable to all other available alternatives
and provides for a larger distribution to the Debtors’ creditors than would otherwise result from
any other scenario. Any alternative to Confirmation of the Plan, moreover, could result in
extensive delays and increased administrative expenses. Accordingly, the Debtors believe that
the Plan provides the best available recovery to their stakeholders and should be confirmed.




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Dated: February 18, 2020
                                 Boy Scouts of America and Delaware BSA, LLC


                                 Steven P. McGowan
                                 Secretary and General Counsel
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                     EXHIBIT A
             PLAN OF REORGANIZATION
                   (previously filed)
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                      EXHIBIT B
              LIQUIDATION ANALYSIS
                 (to be supplemented)
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                      EXHIBIT C
              FINANCIAL PROJECTIONS
                 (to be supplemented)
